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Limited and Uwe Maass

HOLOGRAM USA, INC., a Delaware corporation;
MDH HOLOGRAM LIMITED, a corporation
organized under the laws of the United Kingdom;
and UWE MAASS, an individual,

Plaintiffs,
v.

PULSE EVOLUTION CORPORATION, a Nevada
corporation; PULSE ENTERTAINMENT
CORPORATION, a Delaware corporation; JOHN
C. TEXTOR, an individual; DICK CLARK
PRODUCTIONS, INC., a Delaware corporation;
JOHN BRANCA and JOHN MCCLAIN, Executors
of the Estate of Michael J. Jackson; MJJ
PRODUCTIONS, INC.,, a California corporation;
MUSION EVENTS LTD., a United Kingdom
private company; MUSION 3D LTD., a United
Kingdom private company; WILLIAM JAMES
ROCK, an individual; IAN CHRISTOPHER
O’CONNELL, an individual; and DOES 1 through
10,

Defendants.

Filed 01/30/15 Page 1 of 87

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Case No.: 2:14-cev-00772-GMN-NJK.

SECOND AMENDED AND
SUPPLEMENTAL COMPLAINT;
DEMAND FOR JURY TRIAL

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(Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 2 of 87

INTRODUCTION

1. In 1862, John Pepper and Henry Dircks invented “Pepper’s Ghost,” an illusion
technique, which, over the last 150 years, has appeared in movies, concerts, magic shows and
amusement park rides. Many of us have sat with the original Pepper’s Ghost in Disneyland’s
Haunted Mansion. Today, thanks to the Plaintiffs’ patented technology, a new incarnation of
Pepper’s Ghost has appeared. The patented technology renders three-dimensional images virtually
indistinguishable from real-life bodies.

2. Plaintiff Hologram USA acquired exclusive rights to the patented technology directly
from plaintiffs MDH Hologram Limited, formerly known as Musion das Hologram (“MDH”) and
Uwe Maass, holders of the relevant patents. Hologram USA was created to specifically promote and
publicize the type of three-dimensional entertainment only made possible by the Plaintiffs’ patented
technology. Recognizing Plaintiffs’ exclusive rights, certain Defendants approached Plaintiffs in
April and May of 2014, attempting to license those rights. Plaintiffs refused to grant Defendants any
such license.

3. Defendants elected to ignore the rights they previously sought to license. On or about
May 15, 2014, it was reported in the press that Defendants planned to misappropriate the Plaintiffs’
patented technology and infringe Plaintiffs’ patents by creating a hologram of Michael Jackson who
would “dance across the stage” at the Billboard Music Awards, on May 18, 2014. On that day,
without authorization, Defendants employed the Plaintiffs’ patented technology to produce a three-
dimensional image of Michael Jackson during the international television broadcast of the Billboard
Music Awards. Plaintiffs’ infringing act garnered significant attention around the globe and will
continue to do so, as the performance is disseminated online and through other popular media
sources,

4. Plaintiffs have never authorized any of the Defendants to use the Plaintiffs’ patented
technology. Yet Defendants used that technology on May 18, 2014, to conjure a posthumous
performance by Michael Jackson for an audience of millions. Defendants’ willful infringement has
damaged, and continues to greatly damage, Plaintiffs. Plaintiffs seek the assistance of this Court to

recover damages and enjoin Defendants’ wrongful conduct.

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(ase 2:14-cv-00772-GMN-NJK Document188 Filed 01/30/15 Page 3 of 87

THE PARTIES

5. Plaintiff Maass is a citizen of Germany and an individual residing in the United Arab
Emirates. The United States Patent & Trademark Office (“PTO”) issued U.S. Patent No. 5,865,519
(the *’519 patent”) to Mr. Maass on February 2, 1999. Mr. Maass is also the sole named inventor on
the ’519 patent. Mr. Maass has owned all rights, title and interest to the °519 patent since the
patent’s issuance.

6, Plaintiff MDH is a corporation organized and existing under the laws of the United
Kingdom, having a principal place of business at 90 High Holborn, London, United Kingdom
WCIYV 6XX.

7. The PTO issued U.S. Patent No. 7,883,212 (the “°212 patent”) on February 8, 2011,
to Defendants Jan O’Connell and James Rock, as named inventors. The ’212 patent issued from
U.S. Patent Application No. 10/599,553 (the “’553 application”). In September 2006, Defendants
Rock and O’Connell, “for good and valuable consideration,” assigned their entire right, title and
interest to the °553 application, including any and all patents granted on any division, continuation,
continuation-in-part and reissue of the ’212 patent (the “September 2006 Assignment”), to Musion
Systems Limited (“MSL”). On September 26, 2013, MSL assigned “all such rights, title, and
interest” in the °212 patent, including any and all patents granted on any division, continuation,
continuation-in-part and reissue of the ’212 patent (the “September 2013 Assignment”) to Plaintiff
MDH.

8. The PTO issued U.S. Patent No. 8,328,361 (the “°361 patent”) on December 11,
2012. The °361 patent issued from U.S. Patent Application No. 13/011,452 (the “°452 application”),
which was filed on January 21, 2011. The ’452 application is a continuation of the °553 application.
As a result, the September 2006 Assignment to MSL included Defendants Rock and O’Connell’s
entire right, title and interest to the ’452 application and the °361 patent. The September 2013
Assignment to Plaintiff MDH similarly included the °452 application and the °361 patent.

9. By virtue of the September 2013 Assignment, Plaintiff MDH has owned all rights,

title and interest to the °212 patent and the °361 patent since September 26, 2013.

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(Case 2:14-cv-00772-GMN-NJK Document188 Filed 01/30/15 Page 4 of 87

10, Plaintiff Hologram USA, Inc. (“Hologram USA”) is a corporation organized and
existing under the laws of the State of Delaware, having a principal place of business at 301 N.
Canon Drive, Beverly Hills, California 90210. Since February 2014, Hologram USA is and has
been the exclusive licensee of the ’212 patent, the °361 patent and the °519 patent (collectively, the
“Patents in Suit”) for all uses except adult entertainment.

11. On information and belief, defendant Pulse Evolution Corporation is a corporation
organized and existing under the laws of the State of Nevada, having a principal place of business in
Port St. Lucie, Florida.

12, On information and belief, defendant Pulse Entertainment Corporation is a
corporation organized and existing under the laws of State of Delaware, having a principal place of
business in Hobe Sound, Florida. Pulse Evolution Corporation and Pulse Entertainment Corporation
are referred to collectively as “Pulse.”

13. On information and belief, defendant John C. Textor is a citizen of the United States
residing in Florida. He is the Chairman of Pulse Evolution Corporation and Pulse Entertainment
Corporation. Textor was personally involved in infringing the Patents in Suit, and caused, urged,
encouraged, and aided in the direct infringement. Among other things, Textor was personally
present at the 2014 Billboard Music Awards where Plaintiffs’ patented technology was
misappropriated to create a holographic-like performance by Michael Jackson. Textor has also
attempted to claim credit for a 2012 three-dimensional rendering of rapper Tupac Shakur at the
Coachella Valley Music Festival. But Textor had nothing to do with that performance, which had
been properly licensed by Digital Domain, Inc. (“Digital Domain”), a company from which Textor
was fired. Textor has been credited with leading Digital Domain’s collapse. Not surprisingly,
Digital Domain has recovered since parting ways with Textor.

14. On information and belief, defendant Dick Clark Productions, Inc. (“Dick Clark
Productions”) is a corporation organized and existing under the laws of the State of Delaware,
having a principal place of business in Santa Monica, California. Dick Clark Productions is the
producer of the 2014 Billboard Music Awards, which was held at the MGM Grand Hotel & Casino
in Las Vegas on May 18, 2014.

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15, On information and belief, defendants John G. Branca and John McClain are
individuals residing in Los Angeles, California. Branca and McClain have been appointed as the
Executors of the Estate of Michael J. Jackson (the “Estate”). They are sued in that capacity.

16. On information and belief, defendant MJJ Productions, Inc. is a corporation organized
and existing under the laws of California, having a principal place of business in Hollywood,
California.

17. On information and belief, defendant Musion Events Limited (“Musion Events”) is a
private company organized and existing under the laws of the United Kingdom, having a principal
place of business in Leicester, England.

18. On information and belief, defendant Musion 3D Limited (‘““Musion 3D”) is a private
company organized and existing under the laws of the United Kingdom, having a principal place of
business in London, England. Musion 3D and Musion Events are referred to collectively as the
“Musion Defendants.”

19. On information and belief, defendant James Rock is a citizen of the United Kingdom
residing in West Midlands, England. He was and is a director of the Musion Defendants. Rock was
personally involved in infringing the Patents in Suit, and caused, urged, encouraged, and aided in the
direct infringement. Among other things, Rock was personally present at the 2014 Billboard Music
Awards where Plaintiffs’ patented technology was misappropriated to create a holographic~—like
performance by Michael Jackson. He also was present during Plaintiffs’ inspection of Defendants’
system after the conclusion of the awards show.

20. On information and belief, defendant Jan O’Connell is a citizen of the United
Kingdom and residing in London, England. He was and is a director of the Musion Defendants.
O’Connell was personally involved in infringing the Patents in Suit, and caused, urged, encouraged,
and aided in the direct infringement.

21, The true names and capacities, whether individual, corporate, associate, or otherwise,
of the defendants sued in this complaint as DOES 1-10 (collectively, the “Doe Defendants”) are
presently unknown to Plaintiffs, who therefore sue them by fictitious names. Plaintiffs will amend

the complaint to allege their true names and capacities when ascertained. Plaintiffs are informed and

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(Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 6 of 87

believe and therefore allege that all Defendants, which include the Doe Defendants, were or are, in
some way or manner, responsible for and liable to Plaintiffs for the events, happenings, and damages
alleged in this complaint.

22, Plaintiffs are informed and believe and thereon allege that at all times mentioned,
each Defendant was the agent, servant, employee, co-venturer, representative, or co-conspirator of
each of the other defendants, and acted with the knowledge, consent, ratification, authorization
and/or at the direction of each Defendant, or is otherwise responsible in some manner for the
occurrences alleged in this complaint.

JURISDICTION AND VENUE

23. This isa civil action for patent infringement arising under the Patent Laws of the
United States of America, 35 U.S.C. § 101, ef seg.

24, This Court has jurisdiction over the subject matter of this Complaint pursuant to 28
U.S.C. §§ 1331 and 1338.

25, This Court has personal jurisdiction over Defendants for at least the following
reasons: (1) Defendants regularly do business or solicit business, engage in other persistent courses
of conduct, and/or derive substantial revenue from products and/or services provided to individuals
in this District and in this State; (ii) Defendants have purposefully established substantial,
systematic, and continuous contacts with this District and expect or should reasonably expect to be
in court here; and (iii) the Defendants purposefully availed themselves of the privilege of conducting
activities within the forum state and the causes of action alleged herein arise out of Defendants’
contacts with the forum. Thus, this Court’s exercise of jurisdiction over Defendants will not offend
traditional notions of fair play and substantial justice.

26. Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)-(c) and
1400(b) because Defendants do business in this District, Defendants are subject to personal
jurisdiction in this District, and a substantial portion of the events giving rise to the claims for relief

stated in this Complaint occurred in this District.

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base 2:14-cv-00772-GMN-NJK Document 188 _ Filed 01/30/15 Page 7 of 87

FACTUAL ALLEGATIONS

A. The Patented Technology

27. The Patents in Suit cover various amazing techniques for projecting video to create
the illusion of life-size, full color, 3D moving images. The images used in these systems are three-
dimensional, but are projected as two-dimensional images into a three-dimensional stage set. This
technology is capable of creating the appearance of life-size, three-dimensional moving images on
stage that are nearly indistinguishable from real people.

28. For example, Maass developed the inventions claimed in the ’519 patent after
researching an old stage trick called “Pepper’s Ghost,” originally developed in the 1800s. This
illusion was capable of creating the illusion of a ghost on stage. The trick relied, in part, on a heavy
pane of glass positioned on stage to reflect the image of an actor positioned off-stage. This trick is
still used today, such as at Disney’s Haunted Mansion. While Pepper’s Ghost is a relatively simple
technique for creating an illusion, it is not capable of producing large effects that could move around
on a large stage. Before Maass’s invention, people had to use technology that relied on 3D glasses
to create the illusion of a large three-dimensional moving image on stage or on screen.

29. After studying Pepper’s Ghost, Maass invented a proprietary system using a
transparent smooth foil, capable of creating the illusion of life-size and three-dimensional images
that may move around on a large stage. Importantly, the use of transparent smooth foil is practical to
transport and setup on an existing stage and safe in comparison to the glass traditionally used in
Pepper’s Ghost. The invention also eliminated the need for using 3D glasses.

30. The technology described in the Patents in Suit is known for producing high quality
holographic-like projections. In 2006, certain embodiments of the technology were used to create a
“live” performance by the animated band Gorillaz at the Grammy Awards. Subsequently, in 2012,
pursuant to a license it had obtained from the patent holders at the time, Digital Domain used certain
embodiments of the Plaintiffs’ patented technology at the Coachella Music Festival to produce a life-
size, three-dimensional moving image of deceased rapper Tupac Shakur performing on stage with
Dr. Dre and Snoop Dogg. Although defendant Textor continues to claim credit for the Shakur

performance, he was not involved in its production; nor was he involved in Digital Domain’s

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Pase 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 8 of 87

licensing of the right to practice the Patents in Suit. It was only after that performance lead to a
surge in Digital Domain’s stock price that Textor started to associate himself with the Shakur
hologram.

31. In February 2014, Hologram USA outbid Digital Domain to acquire exclusive rights
to the Patents in Suit and other technology. Hologram USA entered into an agreement with Maass
and MDH to acquire these exclusive rights. As a result of the parties’ agreement, Hologram USA
became the exclusive licensee to the Patents in Suit in all markets in the United States and Canada,
with the exception of adult entertainment.

B. The 2014 Billboard Music Awards

32. OnSunday, May 18, 2014, the Billboard Music Awards aired live on ABC from the
MGM Grand Garden Arena in Las Vegas, Nevada. The televised awards show included live
performances by some of the most popular and up-and-coming entertainers in the world, including
Miley Cyrus, Ricky Martin, Jennifer Lopez, Pitbull, 5 Seconds of Summer, Florida Georgia Line,
Jason Derulo, Imagine Dragons, Luke Bryan, John Legend, OneRepublic, Miranda Lambert and
Carrie Underwood. Most notably, for the first time in history, the awards show also included a
“live” performance by a hologram: The deceased King of Pop, Michael Jackson.

33. Ten days before the awards show, on May 8, Billboard issued a press release in
which it promised “to be one of the year’s stand-out music events.” Although Billboard did not
disclose that a hologram-like image of Michael Jackson would perform at the awards ceremony, it
promised to “raise the bar even higher with a world premier experience featuring the late King of
Pop.” It announced that “[t]he Estate of Michael Jackson created the spot, which will present the
superstar ‘like you’ve never seen him before.’ It’s sure to be a thriller, but the finer details remain
under lock-and-key.” See Michael Jackson to Unleash World Premiere Experience at Billboard

Music Awards, Billboard (May 8, 2014, 6:00 AM), http://www.billboard.com/articles/events/bbma-

2014/6077688/michael-jackson-to-unleash-world-premiere-experience-at-billboard.

34. Several days later, beginning on or about May 15, media outlets began to report on “a
rumor swirling that a Michael Jackson hologram will appear at the 2014 Billboard Music Awards”

for a “performance” of a new, never-before released Jackson song called “Slave to the Rhythm.”

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pase 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 9 of 87

See Carl Williott, Michael Jackson “Hologram” Rumored to Appear at 2014 Billboard Music

Awards, Idolator (May 15, 2014), http://www.idolator.com/751837 1 /michael-jackson-hologram-
billboard-music-awards-rumor. Another report stated that “[a] hologram of Michael Jackson will
reportedly dance across the stage at Sunday’s Billboard music awards. The digital rendering of the
late pop star has been booked to perform one of his ‘new’ songs, Slave to the Rhythm.” See Sean

Michaels, Will Michael Jackson’s Hologram Dance at the Billboard Music Awards?, The Guardian

(May 15, 2014, 5:45 AM), http://www.theguardian.com/music/2014/may/15/michael-jackson-
hologram-billboard-music-awards-2014. On information and belief, Textor circulated the Michael
Jackson “rumor” to generate publicity for himself and the other Defendants.

35. The highly anticipated Jackson hologram finally appeared half-way through the
Billboard Music Awards on May 18. After an introduction by entertainers Ludacris, Brad Paisley
and Kesha, the performance began with a synchronized SWAT Team dancing until a curtain rose to
reveal the late King of Pop sitting on a throne. Surrounded by live dancers, Jackson’s hologram
sang “Slave to the Rhythm,” lifted from his recent posthumous album “Xscape.” During the
performance, the hologram walked, danced, twirled, crouched and moonwalked around the stage. It
was the biggest moment at the awards show.

36. The Jackson performance catapulted the Billboard Music Awards into the top
television spot of the night, and made it the most-watched edition of the awards program in 13 years.
According to Nielson ratings, the program pulled in an average of 10.5 million viewers over the

course of the three-hour show. See Phil Gallo, Billboard Music Awards Ratings Hit 13-Year High,

Billboard (May 19, 2014, 12:32 PM), http:/Awww.billboard.com/articles/events/bbma-
2014/6092 128/tv-ratings-billboard-music-awards-abc. The show “reached the biggest audience
between 9 and 9:30 p.m., when 11.5 million viewers tuned in. That half-hour saw the much-

tweeted-about performance by a hologram of the late Michael Jackson.” Michael O’Connell, TV

Ratings: Billboard Music Awards Hit 13-Year High, The Hollywood Reporter (May 19, 2014, 9:08

AM), http:/Avww.hollywoodreporter.com/live-feed/tv-ratings-billboard-music-awards-705598.
37. Indeed, the Jackson hologram was and continues to be a huge trending topic on social

media. In the days following the performance, Jackson totaled over 80,000 Twitter followers, an

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fase 2:14-cv-00772-GMN-NJK Document188_ Filed 01/30/15 Page 10 of 87

increase of over 700%. See Liv Buli, The Pop King (Still) Rises: Social Legacy of Michael Jackson,

Forbes (May 20, 2014, 10:39 AM), http://www. forbes.com/sites/livbuli/2014/05/20/the-pop-king-
still-rises-social-legacy-of-michael-jackson. Due in large part to the hologram, the 2014 Billboard
Music Awards show “topped the Nielsen Twitter TV Ratings (NTTR) Weekly Top Ten Series and
Specials list with 5.5 million event-related Tweets that were seen by a Unique Audience of 10.2

million people.” See Dina Gachman, 2014 Billboard Music Awards Tops Nielsen Twitter Ratings,

Forbes (May 19, 2014, 3:35 PM), http://www. forbes.com/sites/dinagachman/2014/05/19/2014-
billboard-music-awards-tops-nielsen-twitter-ratings. As of May 27, 2014, the official performance
of the Jackson performance at the 2014 Billboard Music Awards had reached 11.9 million views on
Vevo.

38. News sources widely reported that many viewers were disappointed with the quality
of the holographic-like performance. The Los Angeles Times wrote that “[t]he performance divided
social media as fan reaction ranged from shock and awe to disappointment.” Gerrick D. Kennedy,

Billboard Music Awards: Michael Jackson Thrills in Hologram, Los Angeles Times (May 19, 2014,

4:00 AM), http:/Avww.latimes.com/entertainment/music/la-et-ms-billboard-music-awards-
20140519-story.html. Another news source explained that “many of the viewers were not very
pleased with the hologram-like technology used to bring back MJ to life. They felt that it was done
badly and found that it did not resemble him but just looked like his mere impersonator. And also

the moonwalk was termed as dry by many.” Priya Prakashan, Billboard Music Awards 2014: King

of Pop Michael Jackson Returns to Stage - Watch Hologram Video!, India.com (May 19, 2014, 4:09

PM), http://www.india.com/showbiz/billboard-music-awards-20 1 4-king-of-pop-michael-jackson-
returns-to-stage-watch-hologram-video-60037. Likewise, a CNN article criticized the performance,
stating that “[i]t was eerily interesting because the illusion was effective if you didn’t watch too
closely or weren’t obsessively familiar with Jackson’s dancing, walking and appearance.” It wrote
that “[t]he dance moves were not really Michael Jackson’s but apparently those of a stand-in
performer who recreated his steps for a computer that then laid on an image intended to replicate
Jackson. But where was the swagger -- like Charlie Chaplin -- that characterized Jackson’s cool

walk?” Alan Duke, Billboard Music Awards: MJ ‘Hologram’ and Kendall’s Flub Get Buzz, CNN

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ase 2:14-cv-00772-GMN-NJK Document188_ Filed 01/30/15 Page 11 of 87

(May 19, 2014, 11:49 AM), http://www.cnn.com/2014/05/19/showbiz/billboard-music-awards; see

also Amy Phillips, Creepy Michael Jackson Hologram Performs at Billboard Music Awards,

Pitchfork (May 18, 2014, 10:37 PM), http://pitchfork.com/news/55246-creepy-michael-jackson-
hologram-performs-at-billboard-music-awards (stating that the hologram “performed many of MJ’s
signature dance moves, albeit in a slightly awkward, jerky, off-beat way. It was weird.”).

Cc. Defendants’ Infringement and On-Going Wrongful Conduct

39. Even though Hologram USA is the exclusive licensee to the Patents in Suit in the
United States (except with respect to adult entertainment), Defendants did not obtain a license from
Hologram USA or any of the other Plaintiffs to use the patented technology. In fact, Hologram USA
rejected a proposal made by Textor and Pulse for a joint marketing agreement over the technology in
April and May 2014 — days before Textor and Pulse used that technology without authorization to
create the Jackson hologram.

40. In the aftermath of Jackson’s performance at the Billboard Music Awards show,
many of the Defendants in this case publicly claimed credit for the technology that created the
Jackson hologram. According to one on-line article, “a Billboard spokesperson told Mashable that
the Estate of Michael Jackson and Pulse Evolution created the experience, which took longer than a

year and more than 100 people.” See Brian Anthony Hernandez, Stunning Michael Jackson

Hologram Performs at Billboard Music Awards, Mashable (May 18, 2014),

http://mashable.com/2014/05/18/michael-jackson-hologram-billboard-music-awards. The Jackson
Estate also has publicly denied that Hologram USA or its majority owner, Mr. David, had anything

to do with the Jackson hologram. See Behind the Scenes Video and Message About Billboard

Illusion From MJ Estate, LMJ (May 23, 2014),

http://www. legendarymichaeljackson.nl/news/behind-the-scens-video-and-message-about-billboard-
illusion-from-mj-estate.

41. Shortly after the holographic performance, Textor and Pulse’s Chief Executive
Officer, Frank Patterson, invited USA Today to its Bay Area studios in Northern California to
“explain the details behind Jackson’s performance.” They apparently claimed in this interview that

“Pulse had refined a 19th-century magician’s technique called Pepper’s ghost,” which Digital

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fase 2:14-cv-00772-GMN-NJK Document188_ Filed 01/30/15 Page 12 of 87

Domain’ had employed “to summon the ghost of slain rapper Tupac Shakur at the Coachella music

festival in 2012.” See Marco della Cava, Meet the Conjurers of Michael Jackson’s Ghost, USA

Today (May 23, 2014, 12:32 PM), http://Awww.usatoday.com/story/life/music/2014/05/22/michael-
jackson-billboard-music-awards-illusion/9437881. The technology referred to in the article above
that was used to summon the ghost of Tupac Shakur was undisputedly covered by certain claims of
the Patents in Suit; in fact, Digital Domain employed the technology in that instance subject to a
license it had obtained to use the technology. Pulse never obtained any license to the patented
technology; nor does it hold any related patent rights. Plaintiffs hold all those rights.

42. After Plaintiffs moved for a temporary restraining order in these court proceedings to
enjoin Defendants from infringing the Patents Suit in order to create the hologram-like Jackson at the
Billboard Music Awards, Defendants argued to this Court that they would not use the patented
technology to create the hologram-like Michael Jackson. That argument is belied by the actual
evidence. Initially, Textor attempted to obtain rights to the Patents in Suit in the months and days
leading up to the Billboard Awards because he knew those rights were required. Further, at the
conclusion of the Billboard Music Awards show on May 18, pursuant to this Court’s order, Plaintiffs
conducted an inspection of the technology employed by Defendants to create the hologram-like
images. During that inspection, Rock described the technology used for creating the hologram-like
Michael Jackson and acknowledged that the set-up was based on the Patents in Suit, admitting “that
in a nutshell, is what the first patent [the °519 patent] is about.”

43. Further, USA Today published an interactive diagram that it obtained from Pulse in
an on-line article, which confirms that Textor and Pulse used the Plaintiffs’ patented technology. The
diagram shows that — just as in the °519 patent — high-powered projectors are used to project an
Image onto a rear-projection screen, the image reflects off of the transparent foil arranged on stage at
an angle of about 45 degrees. The projection bounces off the transparent foil into the audience,

preating the illusion of a life-like three-dimensional image positioned on stage behind the transparent

' Digital Domain was responsible for the production of the 2012 Shakur hologram. Although Textor
was CEO in early 2012, he had no role in that production. He was fired from Digital Domain in
2012. In attempting to raise money for Puise, Textor circulated an investor memorandum that
falsely claimed a company called VFX had produced the hologram-like Tupac while Textor served
as Chairman and CEO. A true and correct copy of that investor memorandum is attached as Exhibit
Dd.

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foil. A true and correct copy of the US4 Today article published on May 23, 2014 is attached as
Exhibit E, and represents one rendition made by Pulse of the accused apparatus.

44, On information and belief, Textor and Pulse worked with the Musion Defendants to
produce the holographic-like projection of Michael Jackson. Shortly after the Billboard Music

Awards, Musion 3D prominently announced on its website that:

So now we can say it that Musion 3D was proud to have partnered in
the production process with Pulse Entertainment since January 2014.
The filming and dance sequences were shot on collaboration with
Musion 3D using a proprietary 8K video production. The Foil used
Musion proprietary fireproof foil and was rigged by Musion 3D. The
production has been in rehearsals for many weeks. Musion 3D is not
in any way connected with the company Musion Das Hologram.

Musion 3D Home Page, http://www.musion3d.co.uk (last visited May 29, 2014). Musion 3D
recently removed that statement from its website, but a copy of a printout from the Musion 3D
website is attached as Exhibit F. Musion 3D has publicly acknowledged it uses the Plaintiffs’
patented technology.

45. Further, even while arguing that they do not use the Plaintiffs’ patented technology,
Defendants have inconsistently argued in these court proceedings that they “licensed” the right to do
so. But Plaintiffs have not licensed any such rights to Defendants, and Plaintiffs are the only parties
from which Defendants may license rights related to the Patents in Suit.

46. On information and belief, Defendants have infringed and, unless enjoined, will
continue to infringe the Patents in Suit. According to USA Today, Textor and Pulse are reportedly
fielding calls and inquiries from promoters and the estates of deceased entertainers interested in
tours that use the holographic technology. “Textor won’t reveal who’s been in touch, but notes that
obvious candidates for a posthumous show include Elvis Presley, Frank Sinatra and Bob Marley.”

See Marco della Cava, Jackson Mirage Heralds Future of Posthumous Shows, USA Today (May 22,

2014, 9:44 PM), http://www.usatoday.com/story/life/music/20 1 4/05/22/michael-jackson-mirage-
heralds-future-of-posthumous-shows/9447595,

47, By claiming credit for the technology behind the high-profile hologram-like Jackson
images, Defendants have created significant confusion in the marketplace. That confusion has

diluted the value of the Hologram USA brand by causing confusion among potential customers. In

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fact, Hologram USA has been involved in its own discussions with the estates of several significant
entertainers (including Elvis Presley and Bob Marley), but its efforts to reach a deal have been
thwarted by the presence of the Defendants who falsely claim that they are able to provide access to
the same patented technology as Hologram USA. In addition, the quality of the Michael Jackson
hologram has been criticized in several popular media outlets and by many noted observers, causing
damage to the reputation of Plaintiffs’ brand and further loss of goodwill.

48. Hologram USA’s efforts to reach business deals with potential customers has been,
and will continue to be, damaged by Defendants’ wrongful conduct. Hologram USA has placed
Defendants on notice of their infringing activities, but Defendants refuse to stop using the Plaintiffs’
patented technology.

49, Based on information and belief, Defendants are infringing on one or more of the
claims of the Patents in Suit.

50. Defendants’ infringement of the 519, °212, and °361 patents has caused and will
continue to cause monetary and other damages to Plaintiffs.

D. Defendants’ Wrongful Conduct After The Filing Of This Action

51. After the filing of this action, Defendants continued their pattern of tortious conduct.

52. Approximately one month after this action was filed, on or about June 17, 2014,
Musion IP Limited (“Musion IP”) — is a private company organized and existing under the laws of
the United Kingdom and controlled by Defendant O’ Connell ~ recorded a purported assignment of
the ’212 patent with the PTO. According to this recorded document, Defendant O’Connell,
purporting to act on behalf of MSL, had purportedly assigned the ’212 patent to Musion IP more
than one year earlier on May 29, 2013. This purported assignment remained hidden from the public
for 13 months and was not recorded with the PTO until well after this litigation was filed.

53, To the extent Defendant O’Connell actually executed the purported assignment on
May 29, 2013, that assignment to Musion IP was void and, on information and belief, fraudulent and
in breach of O’Connell’s fiduciary duties. On information and belief, Defendant O’Connell’s
purported transfer of the °212 patent to another one of his companies was an attempt to conceal

assets from creditors, prospective buyers and any administrators appointed to handle MSL’s

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administration proceedings. On information and belief, no collateral was exchanged for the May 29,
2013 assignment. On information and belief, Defendant O’Connell also lacked authority to assign
the *212 patent on May 29, 2013.

54, On July 3, 2013, Defendant O’Connell presented the court in the UK with a petition
for winding up MSL. As part of the wind-up procedures, the UK court appointed joint
administrators to conduct the business of MSL and otherwise proceed with winding up of the
company. In September 2013, the administrators accepted an offer from MDH to acquire MSL’s
assets, The °212 patent was specifically identified in a schedule of transferred patents in the Asset
Sale Agreement, dated September 18, 2013. On September 25, 2013, overruling Defendant
O’Connell’s objections, the London High Court of Justice, Chancery Division approved the joint
administers’ sale of MSL’s assets to MDH, and the court’s decision was affirmed on appeal. Under
this order, MSL completed the sale of its assets (including the ’212 patent and the °361 patent) to
MDH without being subject to any security interest claimed by Defendant O’Connell.

55. | During the wind-up procedures, Mr. O’Connell did not inform MSL of his purported
May 29, 2013 assignment of the °212 patent to Musion IP. The purported assignment was otherwise
unknown and undisclosed to MDH before MDH purchased MSL’s assets in an administration sale.
MDH is a bona fide good faith purchaser of the ’212 patent. After MDH purchased substantially all
of MSL’s assets, MDH promptly recorded its assignment of the ’212 patent with the PTO on or
about November 11, 2013.

56. | The Defendants have also misrepresented their rights to practice the Plaintiffs’
patented technology to existing or prospective customers in the United States and abroad. On
information and belief, Defendants O’Conneill, Textor, Rock, Pulse and the Musion Defendants
conspired to falsely tell customers, potential customers, referral sources and other members of the
public that they (i.e., the Defendants) own rights to the Patents in Suit and the Plaintiffs’ other
patented technology in the United States.

57. For example, on or about September 29, 2014, on information and belief, Defendant
O’Connell sent a mass email to many of his contacts in which he falsely claimed that an arbitration

decision rendered in the London Court of International Arbitration (“LCIA”) establishes that his

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frase 2:14-cv-00772-GMN-NJK Document188_ Filed 01/30/15 Page 16 of 87

company, Musion Events, holds “exclusive worldwide rights” to the invention that is the subject
matter of the Patents in Suit. O’Conneil also falsely represented that “[i}t was found by the
arbitrator that licenses granted to James Rock and I for onward assignment to MEL survived the
purported termination by Uwe - thus his termination was found to be unlawful.” He also falsely
represented that “it appears the arbitrator concurs with our view” that the invention that is the
subject of the ’212 patent is not owned by MSL or MDH and that “there was a wrongful transfer by
the administrators acting for [MSL] of [these] patents to MDH.” In truth, the arbitrator did not make
any such findings. In fact, the arbitrator only decided a “narrow question of contract interpretation”
relating to Musion Events’ rights in five foreign countries, and did not make any findings with
respect to Maass’ termination of the licenses.

58. Even though they do not possess any legal rights to the Patents in Suit, on
information and belief, Defendants O’Connell, Textor, Rock, Pulse and the Musion Defendants
continue to falsely claim those rights in communications with customers, potential customers,
referral sources, as well other third parties. For example, on October 16, 2014, Pulse Evolution
Corporation, Textor’s company, announced a partnership with Authentic Brands Group, LLC
(“ABG”) to develop and create “holographic performances” of Marilyn Monroe. In their press
release, Pulse Evolution Corporation and ABG described their partnership as including “holographic
performances in theatrical productions, live appearances, mobile apps, commercials and more.” The
press release referred to the hologram-like Marilyn Monroe as the latest “virtual performer” in a
catalogue that includes Michael Jackson at the 2014 Billboard Music Awards and Tupac Shakur at
the 2012 Coachella Valley Music and Arts Festival.

FIRST CLAIM FOR RELIEF

By Maass and Hologram USA Against All Defendants

(infringement of Patent No. 5,865,519)
59. Plaintiffs incorporate by reference the preceding averments set forth in the preceding

paragraphs.

16

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60. The ’°519 patent was duly and lawfully issued on February 2, 1999, to Uwe Maass
and is titled “Device For Displaying Moving Images In The Background Of A Stage.” A true and
correct copy of the 519 patent is attached as Exhibit A.

61. | Maass is the owner of the °519 patent, and Hologram USA has licensed the exclusive
right to exploit this patent in all markets in the U.S. and Canada with the exception of adult
entertainment. Maass and Hologram USA have the right to bring this suit for injunctive relief and
damages.

62. On information and belief, Defendants have been, are currently and, unless enjoined,
will continue to directly infringe one or more claims of the °519 patent by making, using, offering to
sell, and selling within the United States the patented invention. Defendants’ products and services
embody and/or practice one or more claims of the °519 patent literally and/or under the doctrine of
equivalents.

63. Defendants’ infringing activities have caused and will continue to cause Plaintiffs
itreparable harm, for which it has no adequate remedy at law, unless Defendants’ infringing
activities are enjoined by this Court in accordance with 35 U.S.C, § 283.

64. Plaintiffs have been and continue to be damaged by Defendants’ infringement of the
°519 patent in an amount to be determined at trial.

SECOND CLAIM FOR RELIEF

By MDH and Hologram USA Against All Defendants

(Infringement of Patent No. 7,883,212)

65. Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

66. The ’212 patent was duly and lawfully issued on February 8, 2011 and is titled
“Projection Apparatus And Method For Pepper’s Ghost Ulusion.” Jan O’Connell and James Rock
are the named inventors. A true and correct copy of the ’212 patent is attached as Exhibit B.

67. In or about September 2006, Ian O’ Connell and James Rock assigned all their
interests in the anticipated application for the °212 patent to MSL. A true and correct copy of the

assignment, as recorded with the PTO, is attached as Exhibit G.

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68. ‘In or about September 2013, MSL assigned all its interests in the ’212 patent to
MDH. A true and correct copy of the assignment, as recorded with the PTO, is attached as Exhibit
G.

69. MDH is the owner of the °212 patent, and Hologram USA has licensed the exclusive
right to exploit this patent in all markets in the U.S. and Canada with the exception of adult
entertainment. MDH and Hologram USA have the right to bring this suit for injunctive relief and
damages.

70, On information and belief, Defendants have been, are currently and, unless enjoined,
will continue to directly infringe one or more claims of the ’212 patent by making, using, offering to
sell, and selling within the United States the patented invention. Defendants’ products and services
embody and/or practice one or more claims of the ’212 patent literally and/or under the doctrine of
equivalents.

7. Defendants’ infringing activities have caused and will continue to cause Plaintiffs
irreparable harm, for which it has no adequate remedy at law, unless Defendants’ infringing
activities are enjoined by this Court in accordance with 35 U.S.C. § 283.

72. Plaintiffs have been and continue to be damaged by Defendants’ infringement of the
*212 patent in an amount to be determined at trial.

THIRD CLAIM FOR RELIEF

By MDH and Hologram USA Against All Defendants

(Infringement of Patent No. 8,328,361)

73. Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

74. The ’361 patent was duly and lawfully issued on December 11, 2012 and is titled
“Projection Apparatus and Method for Pepper’s Ghost Illusion.” Ian O’Connel! and James Rock are
the.named inventors. A true and correct copy of the °361 patent is attached as Exhibit C.

75. The ’361 patent is a continuation of the °212 patent. In or about September 2006,
Rock and O’Connell assigned to ’212 patent, including any continuations such as the ’361 patent, to

MSL.

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76. In or about September 2013, MSL assigned all its interests in the ‘361 patent to MDH
pursuant to the administration sale.

77. MDH is the owner of the °361 patent, and Hologram USA is the exclusive licensee to
the °361 patent in all markets in the U.S. and Canada with the exception of adult entertainment.
MDH and Hologram USA have the right to bring this suit for injunctive relief and damages.

78. On information and belief, Defendants have been, are currently and, unless enjoined,
will continue to directly infringe one or more claims of the ‘361 patent by making, using, offering to
sell, and selling within the United States the patented invention. Defendants’ products and services
embody and/or practice one or more claims of the ‘361 patent literally and/or under the doctrine of
equivalents,

79. Defendants’ infringing activities have caused and will continue to cause Plaintiffs
irreparable harm, for which it has no adequate remedy at law, unless Defendants’ infringing
activities are enjoined by this Court in accordance with 35 U.S.C. § 283.

80. Plaintiffs have been and continue to be damaged by Defendants’ infringement of the
*361 patent in an amount to be determined at trial.

FOURTH CLAIM FOR RELIEF
By Maass and Hologram USA Against All Defendants For the °519 Patent
By MDH and Hologram USA Against All Defendants For the ’212 and ’361 Patents
(Willful Infringement)

81. Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

82. _ As alleged above, the Defendants are and have been aware of the Patents in Suit. The
Defendants have been practicing and continue to practice the technology claimed in the Patents in
Suit without a valid license to do so. Defendants’ infringement of the Patents in Suit has been
willful.

83. The Defendants knew about the Patents in Suit before the complaint in this action was
filed, and acted despite an objectively high likelihood that its actions constituted infringement of a

valid patent. Rock and O’Connell are named as inventors on the ’212 patent and the ’361 patent,

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and they had prior knowledge of the °519 patent from their prior business dealings, including the
Tupac hologram at Coachella and many other holographic-like projects featured on their website.
See Our Projects, Musion, http://musion.co.uk/projects (last visited May 29, 2014). Rock and
O’Connell (together with Musion) have falsely claimed that the Musion Defendants own certain
rights to the Patents in Suit. Thus, the Musion Defendants, Rock and O’Connell unquestionably
knew about the Patents in Suit before this lawsuit was filed.

84. Moreover, several of the Defendants are known to be repeat users of the Patents in
Suit. In particular, Textor (and by extension, his Pulse companies) was well aware of the Patents in
Suit from his prior experience as the CEO of Digital Domain when it licensed the rights to use the
technology to create a hologram of Tupac Shakur for the 2012 Coachella Music Festival. After the
YouTube video of the Tupac hologram went viral, the Plaintiffs’ patented technology grew in
popularity within the entertainment industry. Shortly thereafter, based on information and belief, the
Jackson Estate, working in partnership with Cirque du Soleil, used the technology to create a
hologram-like Michael Jackson in a show on the Las Vegas strip entitled “Michael Jackson: One,”
which began previews in or about May 2013. Accordingly, the various Defendants in this case have
had extensive prior experience with the Patents in Suit and Plaintiffs’ other patented technology.

85. Under the circumstances, the Defendants surely understood that the technology used
to create the holograrm-like images was patented. According to news reports, it took months to
create the hologram-like Jackson for the Billboard Music Awards, which was planned to be the
surprise highlight of the nationally televised awards show. All of the Defendants are sophisticated
and experienced players in the entertainment industry with reason to know about the existence of the
Patents in Suit. In fact, Plaintiffs have previously filed lawsuits against companies for infringement
of the Patents in Suit. Most significantly, in March 2014, Plaintiffs filed suit against the Jackson
Estates’ partner, Cirque du Soleil, regarding their unauthorized use of certain of the Patents in Suit to
create a hologram-like Michael Jackson for the Cirque show entitled “Michael Jackson: One.”
Notwithstanding this prior lawsuit, the Jackson Estate and the other Defendants in this case
deliberately and willfully infringed the Patents in Suit again, in order to create an even more high-

profile holographic-like performance by Michael Jackson to air on national television during the

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Billboard Music Awards on May 18, 2014.

86. Despite their knowledge of the existence of the Patents in Suit, based on information
and belief, Defendants willfully, intentionally and consciously infringed the Patents in Suit in
disregard of Plaintiffs’ rights.

87. Immediately after Plaintiffs learned of Defendants’ plans to infringe the Patents in
Suit in order to create a holographic-like performance of Michael Jackson for the Billboard Music
Awards, Plaintiffs placed Defendants on written notice of their alleged infringement. Plaintiffs
demanded in their pre-litigation letter that Defendants (including Dick Clark Productions, the
Jackson Estate, Textor and Pulse) agree to refrain from displaying the infringing hologram-like
Michael Jackson during the May 18 award show. Defendants refused this demand, and Plaintiffs
subsequently filed suit. A true and correct copy of this May 15, 2014 demand letter is attached as
Exhibit H.

88. Asa direct and proximate result of Defendants’ willful infringement of the Patents in
Suit, Plaintiffs have been and will continue to suffer monetary damages and irreparable injury.
Defendants have created on-going confusion in the marketplace as to the rightful owners and
licensors of the Patents in Suit, which renders this case appropriate for treble damages.

FIFTH CLAIM FOR RELIEF

By Maass and Hologram USA Against All Defendants For the ’519 Patent
By MDH and Hologram USA Against All Defendants For the ’212 and °361 Patents
(Active Inducement)

89. Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

90. In addition to or as an alternative to directly infringing the Patents in Suit, the
Defendants are liable for indirect infringement. The Defendants actively induced the direct
infringement of the Patents in Suit in violation of 35 U.S.C. section 271(b), which provides that
“Twlhoever actively induces infringement of a patent shall be liable as an infringer.” The

Defendants have continued to do so after the initial Complaint was filed in this case.

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91. As alleged in greater detail above, the Defendants knew about the Patents in Suit
before the complaint in this action was filed, and acted with knowledge that their induced acts
constitute patent infringement. Defendants are familiar with the Patents in Suit and have had prior
experiences with the Plaintiffs’ patented technology — which is widely known within the
entertainment industry. Further, Plaintiffs expressly demanded that Defendants refrain from
misappropriating their patented technology to create an unauthorized holographic-like performance
of Michael Jackson at the Billboard Music Awards before this lawsuit was filed.

92. The Defendants engaged in multiple instances of infringement, including directly
and/or indirectly. While some information is publicly available, much of the information about the
role of each of the Defendants in directly and indirectly infringing the Patents in Suit is within the
possession, custody and control of the Defendants.

93. On information and belief, the Defendants intended to induce infringement of the
Patents in Suit. The Defendants worked together in secret to create a holographic-like performance
of Michael Jackson, which was unveiled to the public on live television at the 2014 Billboard Music
Awards. All the Defendants ~ including the Jackson Estate, MJJ Productions and Dick Clark
Productions — intended to induce each other to infringe the Patents in Suit, so that the awards show
and Jackson’s newly released album would benefit from a spectacular “live” performance by
Michael Jackson as “you’ve never seen him before.” See Michael Jackson to Unleash World
Premiere Experience at Billboard Music Awards, Billboard (May 8, 2014, 6:00 AM),
http://www. billboard.com/articles/events/bbma-201 4/6077688/michael-jackson-to-unleash-world-
premiere-experience-at-billboard. Indeed, each of the Defendants caused, urged, encouraged and/or
aided in the infringing conduct.

94, In particular, based on information and belief, the Musion Defendants, Rock and
O’Connell intended to induce infringement of the Patents in Suit. The Musion Defendants, Rock
and O’Connell falsely claimed that they possessed legal valid rights to the Patents in Suit. Further,
they intentionally induced infringement of the Patents in Suit by having customers sell, offer to sell,
use and import into the United States and this Judicial District, and placing into the stream of

commerce, the claimed invention (e.g., “Eyeliner certified flame retardant Foil”) with knowledge

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that such products infringe the Patent At Issue. Musion 3D provides, among others things, “services
including initial design consultation and advice, CAD drawings, equipment technical riders, Foil
delivery and installation from one of our tech support crew”, and it advertises that “technical staff
are on-hand to guide you, and your preferred production company, through your requirements to
ensure the absolute success of your Eyeliner experience.” See Fire Retardent [sic] Foil, Musion 3D,
hitp://www.musion3d.co.uk/products/fire-retardant-foil (last visited May 29, 2014). Indeed, Musion
3D actively promotes “digital resurrection” on its website and encourages companies to use its
services “to create life-like holographic projections of celebrities, politicians, dignitaries, and other
significant figures.” See Digital Resurrection, Musion 3D,
http://www.musion3d.co.uk/services/digital-resurrection (last visited May 29, 2014). It also
advertises and promotes design and installation services on its website that infringe the Patents in
Suit. See Design and Installation, Musion 3D, http://www.musion3d.co.uk/products/design-and-
installation (last visited May 29, 2014). Further, Rock was present at the Billboard Music Awards
and was personally involved in the inspection and disassembly of the apparatus used to create the
Jackson hologram after the show.

95, Likewise, Textor and Pulse intended to induce infringement of the Patents in Suit.
Textor and Pulse worked with the Musion Defendants, Rock and O’Connell to provide and operate
the patented technology that was used to create the hologram-like Jackson. Indeed, Textor and Pulse
actively promote their expertise in developing ““‘virtual humans’ for live and holographic concerts,
advertising, feature films, branded content, medical applications and training.” See About, Pulse,
http://www. pulse.co/about-pulse (last visited May 29, 2014). As with Rock, Textor was personally
present at the Billboard Music Awards show when the hologram-like Jackson was aired to a national
audience.

96. As a direct and proximate result of Defendants’ induced infringement of the Patents

in Suit, Plaintiffs have been and will continue to suffer monetary damages and irreparable injury.

23

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SIXTH CLAIM FOR RELIEF

By Maass and Hologram USA Against All Defendants For the ’519 Patent
By MDH and Hologram USA Against All Defendants For the 212 and ’361 Patents
(Contributory Infringement)

97. Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

98. In addition to or as an alternative to directly infringing the Patents in Suit, the
Defendants are liable for indirect infringement. The Defendants engaged in contributory
infringement of the Patents in Suit in violation of 35 U.S.C, section 271(c), which provides that
“[w]hoever offers to sell or sells within the United States or imports into the United States a
component of a patented machine, manufacture, combination or composition, or a material or
apparatus for use in practicing a patented process, constituting a material part of the invention,
knowing the same to be especially made or especially adapted for use in an infringement of such
patent, and not a staple article or commodity of commerce suitable for substantial noninfringing use,
shall be liable as a contributory infringer.” The Defendants have continued to do so after the initial
Complaint was filed in this case.

99, As alleged in greater detail above, the Defendants knew about the Patents in Suit
before the complaint in this action was filed. Defendants are familiar with the Patents in Suit and
have had prior experiences with the Plaintiffs’ patented technology — which is widely known within
the entertainment industry. Further, Plaintiffs expressly demanded that Defendants retrain from
misappropriating their patented technology to create an unauthorized holographic-like performance
of Michael Jackson at the Billboard Music Awards before this lawsuit was filed.

100. Based on information and belief, Defendants contributed to the infringement of the
Patents in Suit by having customers and/or collaborators sell, offer to sell, use and import into the
United States and this Judicial District, and placing into the stream of commerce, the claimed
invention including but not limited to “Eyeliner certified flame retardant Foil” and equipment rentals
such as the “Musion 3D Eyeliner structures,” with knowledge that such products infringe the Patent

At Issue. See Musion EyeLiner Foil — The Biggest 3D Holograms, Musion 3D,

24

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http://www.musion3d.co.uk/products/eyeliner (last visited May 29, 2014); Fire Retardent [sic] Foil,
Musion 3D, http://www-.musion3d.co.uk/products/fire-retardant-foil (last visited May 29, 2014).

101. In particular, based on information and belief, Textor and Pulse worked with the
Musion Defendants, Rock and O’Connell to provide and operate the patented technology that was
used to create the hologram~like Jackson for the Billboard Music Awards. Additionally, discovery
is likely to show that the Jackson Estate and MJJ Productions contributed to the infringement by
selling, offering to sell or otherwise providing materials from its Cirque show in Las Vegas to assist
in practicing the patented invention.

102. Based on information and belief, Defendants’ products, including but not limited to
the Eyeliner certified flame retardant Foil, are especially made or adapted for infringing the Patents
in Suit and have no substantially non-infringing uses, Indeed, this Foil was specially designed for
the purpose of practicing the Patents in Suit.

103. Asa direct and proximate result of Defendants’ contributory infringement of the
Patents in Suit, Plaintiffs have been and will continue to suffer monetary damages and irreparable
injury.

SEVENTH CLAIM FOR RELIEF

By Maass and Hologram USA Against All Defendants For the °519 Patent
By MDH and Hologram USA Against All Defendants For the ’212 and ’361 Patents
(Preliminary and Permanent Injunction)

104. Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

105. Immediate and irreparable injury will result to Plaintiffs unless this Court enters a
Preliminary Injunction, pursuant to FRCP 65, enjoining all Defendants and their agents, servants,
employees, attorneys, subsidiaries and any other individual or entity in active concert or
participation with them who receives actual notice of the order, from infringing, inducing others to
infringe, or contributing to the infringement of the Patents in Suit, including the manufacture, use,
sale, importation, and offer to sell any holographic-like equipment or services related to the use of

such holographic-like equipment covered by the Patents in Suit.

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 26 of 87

106. Plaintiffs have a likelihood of success on the merits given that there is no dispute that
Defendants have infringed and continue to infringe the Patents in Suit, by using and selling this
patented technology to create a holographic-like image of Michael Jackson which “performed” a
never-before released song of Michael Jackson’s at the 2014 Billboard Music Awards. Defendant
Textor’s attempts to acquire rights to the Patents in Suit in the days leading up to the Billboard
Music Awards belie any self-serving attempt to now claim another technology was employed to
create that performance.

107. Asaresult of Defendants’ unlawful activities, Plaintiffs have suffered and will suffer
irreparable harm. Hologram USA has spent several million dollars building the Hologram USA
name and brand. For instance, Hologram USA spent millions of dollars to build a Beverly Hills
showroom to display and market the Plaintiffs’ patented technology to potential customers,

168. The acts of the Defendants have already caused Plaintiffs significant harm. By
advertising, promoting and displaying a Michael Jackson holographic image at the 2014 Billboard
Music Awards, Defendants have created significant confusion in the marketplace. That confusion
has diluted the value of the Hologram USA brand by causing confusion among potential customers.
The actions of the Defendants have interfered with numerous potential business deals between
Hologram USA and potential customers. On information and belief, Defendants are continuing to
promote and sell the infringing products and services to other prospective customers and also intend
to employ the hologram-like Michael Jackson in several other planned live performances in the
coming weeks and months,

109. If Defendants are permitted to continue their infringing conduct, including but not
limited to the continued promotion of their services following the display of the Michael Jackson
holographic-like image at the 2014 Billboard Music Awards, the irreparable harm suffered by
Hologram USA will be immeasurable. The publicity associated with such a display cannot be
reduced to monetary terms.

110. Defendants’ actions will continue to irreparably harm Plaintiffs’ business reputation
and brand by creating consumer confusion as to the true owner of the patented technology. No

adequate remedy at law will alleviate this harm.

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fase 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 27 of 87

EIGHTH CLAIM FOR RELIEF

By Hologram USA Against Textor, Pulse, the Musion Defendants, O’Connell and Rock

(Intentional Interference with Prospective Economic Advantage)

111. Plaintiffs incorporate by reference the preceding averments set forth in the preceding

paragraphs.

112. A prospective contractual relationship existed between Plaintiffs and their prospective
customers in the United States and Canada.

113. Asaresult of their prior business and legal dealings with Plaintiffs, Textor,
O’Connell, Rock and their respective companies knew of the prospective contractual relationship
between Plaintiffs and their prospective customers in the United States and Canada.

114. Textor, O’Connell, Rock and their respective companies committed intentional acts
intended or designed to disrupt and/or prevent the relationships between Plaintiffs and their
prospective customers. Among other things, they conspired to falsely represent that they had the
legal rights to practice the Patents in Suit and other Plaintiff's technology in the United States,
recorded a fraudulent assignment of the ’212 patent with the U.S. Patent and Trademark Office, and
misrepresented the findings of the arbitrator in the LCIA arbitration.

115. Textor, O’Connell, Rock and their respective companies had no privilege or
justification for their actions.

116. Asadirect and proximate result of the actions and conduct of Textor, O’ Connell,

Rock and their respective companies, Plaintiffs have been damaged in an amount to be determined at

trial.
NINTH CLAIM FOR RELIEF
By Maass and MDH Against O’Connell
(Breach of Fiduciary Duty/Corporate Usurpation)
117. Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

118. Asa former director of MSL, O’Connell owed certain fiduciary duties to the

company, its creditors and its shareholders. O’Connell owed fiduciary duties to Maass because

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fase 2:14-cv-00772-GMN-NJK Document188 _ Filed 01/30/15 Page 28 of 87

Maass was a shareholder and a creditor of MSL.

119. O’Connell breached his fiduciary duties, Among other things, on his last day as a
director of MSL before he was removed from office, he engaged in self-dealing and otherwise
breached his fiduciary duties by purporting to assign the ’212 patent and certain other intellectual
property rights owned by MSL to Musion IP.

120. Asadirect and proximate cause of O’Connell’s breach of said duty, Maass and MDH
sustained damages in an amount to be determined at trial.

121. In addition to Maass, MDH has standing to sue O’Connell for his wrongful
assignment of the ’212 patent and certain other intellectual property rights to Musion IP. At the time
of this breach, O’Connell knew that MSL was insolvent and understood that MSL’s assets likely
would be auctioned off in an administration sale during bankruptcy proceedings. In fact, O’Connell
presented a petition for the winding wipe of MSL on July 3, 2013 — only days after he made the
fraudulent assignment to Musion IP and was removed as a director.

122. As aresult of the sale of substantially all of MSL’s assets, MDH acquired various
rights and causes of action previously owned by MSL. Among other things, MSL assigned to MDH
“all rights of action (whether already accrued or arising in the future) relating to any of the Goodwill
or Business Intellectual Property Rights”, which includes claims arising out of the ’212 patent and
other intellectual property rights previously owned by MSL. Accordingly, MDH has standing to sue
O’Connell for his wrongful conduct in connection with the fraudulent assignment.

123. By virtue of the foregoing conduct, O’Connell acted despicably and with
recklessness, oppression, and malice, and punitive damages should be assessed for that reason.

TENTH CLAIM FOR RELIEF

By AH Plaintiffs Against Textor, Pulse, the Musion Defendants, O’ Connell and Rock

(False Advertising)
124, Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.
125, As set forth above, Textor, O’Connell, Rock and their respective companies have

made public communications and announcements that contain false and misleading statements of

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fact regarding their own products and Plaintiffs’ products. These public communications and
announcements contain actual misstatements and/or misleading statements or failures to disclose. In
particular, they have published false staternents to existing or potential customers asserting that they
possess the legal rights to practice the Patents in Suit and that the arbitrator in the LCIA Arbitration
made specific findings that affirmed these rights.

126. These statements actually deceive, or have a tendency to deceive, a substantial
segment of the intended audience, including potential purchasers and licensees of Plaintiffs’
products and services and other potential customers of Plaintiffs.

127. The misrepresentations and omissions made by Textor, O’Connell, Rock and their
respective companies are material and are likely to influence purchasing decisions in the relevant
markets. Such misrepresentations have proximately caused and/or are likely to cause injury to
Plaintiffs by diverting sales and licensing opportunities from Plaintiffs to the aforementioned
Defendants. Such conduct has also irreparably harmed Plaintiffs by leading consumers and others
in the trade to believe that Plaintiffs are not the rightful owners of the Patents in Suit or otherwise
lack exclusive technology rights for creating hologram-like images. Their conduct has substantialiy
injured the goodwill and business reputation of Plaintiffs in the marketplace, and as a result Plaintiffs
have lost market share and suffered lost revenue and financial harm.

128. The parties’ respective products, technology and services about which Textor,
O’Connell, Rock and their respective companies have made misrepresentations, are marketed and
sold in interstate commerce, and in commerce between the United States and foreign countries, and
the misrepresentations and omissions were communicated across state borders and in interstate
commerce.

129, The publication of the misrepresentations and omissions and the other acts and
conduct of Textor, O’Connell, Rock and their respective companies, as alleged above, constitutes
false and deceptive trade practices in violation of Section 43(a) of the Lanham Act, 15 U.S.C.

§ 1125(a), which caused harm and damage to Plaintiffs’ business and products,
130. Asa direct and proximate result of such conduct, Plaintiffs have and continue to

suffer damages in the form of lost profits, revenues and injury to its business in an amount to be

29

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Qase 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 30 of 87

determined at trial.

131. Plaintiffs are entitled to recover the aforementioned Defendants’ profits from their
conduct in violation of the Lanham Act, an award of damages, including an amount up to three times
the amount found as actual damages, and attorney’s fees and costs under 15 U.S.C. C. § 1117(a).

132. Moreover, Plaintiffs will continue to suffer damages unless Textor, O’Connell, Rock,
Pulse and the Musion Defendants, their officers, agents, servants, employees, attorneys, and those
persons acting in concert with them are permanently enjoined from continuing such actions and
appropriate corrective advertising is awarded.

ELEVENTH CLAIM FOR RELIEF

By All Plaintiffs Against Textor, Pulse, the Musion Defendants, O’Connell and Rock

(Unfair Competition)

133, Plaintiffs incorporate by reference the preceding averments set forth in the preceding
paragraphs.

134. The wrongful and illegal conduct committed by Textor, O’Connell, Rock and their
respective companies, as alleged above, constitutes unfair competition in violation of the common
law of Nevada and other states where those Defendants are conducting their activities. In particular,
Textor, O’Connell, Rock, and their respective companies misappropriated Plaintiffs’ intellectual
property rights and deceived actual or potential customers into believing that they own the rights to
the Patents in Suit.

135. The aforementioned unfair competition has caused Plaintiffs to suffer significant
harm, including monetary damages, the precise amount of which is to be proven at trial.

136. The actions of Textor, O’Connell, Rock and their respective companies, as described
above, were malicious, deliberate, intentional, and embarked upon with the knowledge of, or
conscious disregard of, the harm that would be inflicted upon Plaintiffs. As a result of said
intentional conduct, Plaintiffs are entitled to punitive damages in an amount sufficient to punish

those Defendants and to deter others from like conduct.

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Gase 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 31 of 87

REQUEST FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that:

a. Judgment be entered that Defendants have infringed one or more claims of the ’212,
*361 and °519 patents;

b. Judgment be entered permanently enjoining Defendants, their directors, officers,
agents, servants, and employees, and those acting in privity or in concert with them, and their
subsidiaries, divisions, successors and assigns, from further acts of infringement of the ’212, the
°361 and °519 patents;

c. Judgment be entered that Defendants’ infringement has been willful;

d. Judgment be entered awarding Plaintiffs all damages adequate to compensate them
for Defendants’ infringement of the ’212, the °361 and °519 patents, including all pre-judgment and
post-judgment interest at the maximum rate permitted by law, and including a trebling of such
damages due to Defendants’ willful infringement;

€, Judgment be entered ordering Textor, O’Conneil, Rock, Pulse and the Musion
Defendants to pay special, general, treble and punitive damages to Plaintiffs according to proof at
trial for their unfair competition and false advertising;

f. Judgment be entered requiring Textor, O’Connell, Rock, Pulse and the Musion
Defendants to account for the profits from their unfair competition, and disgorge any such profits to
Plaintiffs;

g. Judgment be entered declaring that O’Connell’s purported assignments allegedly
made on behalf of MSL of the ’212 patent, the °361 patent, and certain other intellectual property
rights to Musion IP are fraudulent, unlawful and void, and that MDH is the legal owner of those
rights;

h. Judgment be entered that this case is exceptional under 35 U.S.C. § 285, with an
award to Plaintiffs of their attorneys’ fees incurred in bringing and litigating this action;

i. Judgment be entered for an award to Plaintiffs of their costs of suit herein; and

j. Judgment be entered awarding all other relief as the Court deems proper.

31

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(ase 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 32 of 87

DEMAND FOR JURY TRIAL

DATED this 30th day of January, 2015.

Please take notice that Plaintiffs demand trial by jury in this action.

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32

Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 33 of 87

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 34 of 87

EO A

United States Patent x9) fu] Patent Number: 5,865,519

Maass (45) Date of Patent: Feb. 2, 1999

{54} DEVICE FOR DISPLAYING MOVING 5,573,325 11/2996 LekOWSKE ssssesssuuasaueennes 353/28
IMAGES IN THE BACKGROUND OF A 5,669,685 9/1997 Kotaui et al. -

STAGE 5,685,625 (1/1997 Beaver osu
FOREIGN PATENT DOCUMENTS

[76] Inventor: Owe Maass, Lindlarer Strasse 107,

D-51491, Overath, Germany 389185 9/1908 France.
| 40819: 3/4910 France .
[21] Appl. No. 836,911 21474) 7H995 France .
TP Tate 2039680 8/1980 United Kingdom .
(22] PCT Filed: Aug. 31, 1996 WO 89/05682 6/1989 WIPO.
§371 Date: Jul. 7, 1997 Rasche et al., Buhnentechniche Rundschau (1990) BTR
§ 102(e) Date: Jul. 7, 1997 3:24-5.
[87] PCT Pub. No. WO87/11408 Primary Examiner—William Dowling
Attorney, Agent, or Firm--Klauber & Jackson
PCT Pub. Date: Mar. 27, 1997 on .
[57] ABSTRACT
(30] Foreign Application Priority Data
. oe Aq article such as for example a motor vehicle at a publicity
Sep. 20, 1995 [DE] Germany wnrsenenune 295 15 073 U function is lo be represenied in front of different viewers
[sl] Int, CLS “oer bee eeetceseeceetee _ GO3B 21/28 (38) in the background of a stage (28) in the form of a virmal
[52] U.S. Ch _ 353/28: “359 (630; 473/58 image (26). A presenter (40) is to stand in the image and give
(58 Field of Search , 353/28, 98, 30, explanations. Disposed above the stage (28) is an image
353/29, 10s 359/478, “S30; 472/58, 61, 63 source (12, 14). it projects an image, a film, on to a reflecting
surface (L8) on the fioor (30) of the stage (28). Behind that
reflecting surface (18) a transparent smooth foil (20) extends
[56] References Cited at 45° from the ceiling (32) to the fleor (30). The image
U.S. PATENT DOCUMENTS produced by the image source (12, 14) appears to the
. , . viewers (38) as 6 virtual image (26) behind the foil 20), The
ree ng tenet ee presenter (40) siands behind the foi! (20) and in the middle
fae : a . -
2198815  4;1940 Haskin . of the image.
3,035,836 5/1962 McOulley occ JOS/28
4,805,895 2/1989 Rogers . 15 Ciaims, 5 Drawing Sheets

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 35 of 87

U.S. Patent Feb. 2, 1999 Sheet 1 of 5 5,865,519

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FIG.
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 36 of 87

U.S. Patent Feb. 2, 1999 Sheet 2 of 5 5,865,519

Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 37 of 87

U.S. Patent Feb. 2, 1999 Sheet 3 of 5 5,865,519
FIG.4
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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 38 of 87

U.S. Patent Feb, 2, 1999 Sheet 4 of 5 5,865,519

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U.S. Patent Feb. 2, 1999 Sheet 5 of 5 5,865,519

Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 40 of 87

5,865,519

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DEVICE FOR DISPLAYING MOVING
[MAGES IN THE BACKGROUND OFA
STAGE

The invention concerns an apparatus for representing
moving images in the background of a stage or the like using
an image source.

‘Transparency lectures or presentations are kKnowa, and
thal expression is 4 well-established piece of terminalogy. in
a transparency presentation the presenter projects stil
images or pictures on to a projection screen. The presenter
himself stands outside the light cone between the projector
and the projection screen and comments on the images.
Instead of the transparency projector the presenter can also
use a film apparatus. In that case moving images appear on
the projection screen and the presenter comments thereon. In
both cases the presenter stands outside the light cone. He
does not appear on or in the image himself. If he were to
move into the light cone he would mask off a part of the light
beam. Instead of the image, the shadew of the presenter
would then appear on the projection screen, If the presenter
wants to direct the a{tention af his viewers to a given point
in the image he uses for thal purpose a pointer or a light with
a sharply focussed light beam.

The foregoing kind of presentation is sufficiemt for image
and film presentations for photographic and film amateurs.
Travellers who show films or transparencies of their travels
to a wide circle of viewers can also use that kind of
presentation wilhoul detriment. The viewers aze only inter-
ested in the film or the transparencies and the words of the
presenter. They attribute only sight significance ta the
manner of presentation and the technical equipment
involved,

The position is different if the viewers do not have any
particular interest in the articles to be shown and an interest
first has to be aroused. The position is also different when the
film presentation is to (ake place ata high technical level, for
overriding reasons, The situation is also different if the film
presentation is to be made more relaxed and less monoto-
nous and linked to so-called display effects.

A theatre production is described as a ghosi trick in the
literature (for example Buhnentechnische Rundschau, BTR
3/1990, pages 24 and 25), involving disposing a pane of
glass inclinedly in the front region of the stage. An actor is
positioned beneath the pane of glass and in a lowered part of
the stage. He is bedecked with wide white garments and
represents the ghost. He is lit by a spotlight which is also
disposed under the stage. The image of that actor represent-
ing the ghost is projected on to the pane of glass and appears
io the viewers behind the pane of glass a virtual image. In
thal theatre presentation a second actor is on the stage. He
represenis a hero or sorcerer who conjures up the ghost,

On the basis thereal, ihe object of the present invention
is an apparatus with which film and image presentations can
be made relaxed and the presenter himself can move into the
image without thereby interfering with reproduction of the
image on a projection screen or generally on a surface. In
accordance with the invention, that object is aitained in an
apparatus of the kind set forth in the opening part of this
specification, in that a reflecting surface is arranged’ on the
foor of the stage in the central region thereof, a transparent
smooth foil extends between the floor and the top or ceiling
of the slage over the eulire width thereof in such a way that
its lower end is held to a position between the reflecting
surface and the background and iis upper end is held to the
ceiling a1 a position which is disposed further forwardly, and
the image source is arranged at the ceiling in front of the

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upper end of the foil which is held there, and is directed on
to the reflecting surface.

The apparatus according to the invention makes use of
the physical principle that any motor car driver experiences
on the windshield of his vehicle. An article lying on the
storage surface in front of the windsbicid is reflected therein
in such @ way that it seems to the motor car driver to be
disposed in front of the windshield, as viewed in the
direction of travel. In the case of the apparatus according to
the invention the article (o be represented is projected by the
image source on to the reflecting surface which corresponds
to the above-mentioned support surface, and it is then
reflected in the transparent smooth foil in such a way that it
appears to the viewer on the background of the stage, The
foil which extends over the entire width of the stage and
which is held to the floor and ceiling thereof acts like the
windshield in a motor vehicle. A viewer al any point in the
auditorium believes that he is seeing amy article reflected by
the reflecting surface on to the foil, behind same. The
presenter stands on the stage culside the light cone of the
image source. As viewed from the auditorium, he stands
behind the reflecting surface. That means that lis image is
not formed on the background, nor does he disturb the image
represeniation thereon, He can draw the attention of the
viewers lo given details in the image represeatation, without
making use af a pointer or a light. He can likewise move
with the images and interpret the reproduction thereof by
virtue of his bedy language.

Desirably the foil extends at an angle of about 45°
relative to the floor of the stage. The image source can be a
display screen tube with a very high degree of resolution. it
can be controlled by a computer. That means that the image
can also be electronically influenced. Desirably a computer-
controlled intelligent light amplifier (also Known as an LLA)
is used as the image source. El is oriented horizontally and
emits light in the direction of the auditorium. Accordingly its
longest extent lies in the herizontal and it can be easily
concealed from the viewers. So that the light which ft
radiates reaches the reflecting surface, a further embodiment
provides thal a mirror is arranged in front of the computer-
controlled light amplifier and the latter is directed on to the
mirror and the mirror receives the light emitted by the light
amplifier, is directed on to the reflecting surface and projects
the light on to same.

Hf possible the viewer should nol notice how the image in
tbe background of the siage is produced. ‘Vherefore the light
amplifier and the mirror are desirably covered over for-
wardly by a curtain or a board which extends over the entire
width of the stage. The foil itself is under a very high tensile
stress of up to &t. In that way it is held tautly smooth and the
image is not distorted. The foil is preferably without any
inchusions. It is also to be very smooth on its front side and
ils Fear side. Tl is also to be very thin. Finally the foil is to
reflect between 30 and 50%, preferably 30%, of the light
impinging on it. Such a foil is particularly weld suited for the
purposes according to the invention. The absence of inchi-
sions and the smooth fromt and rear sides thereof result in
very slight and imperceptible distortion effects. The fact that
the foil is very thin serves the same purpose. Refiection
phenomena at the front and rear sides thereof thus coincide.
The foil used for the purposes according to the invention is
generally subjected to further processing as transparency or
35 mm films. When used as a transparency film, it is cul up
into the formal of the (ranspareacy or 35 mm films. When it
is used for the invention the foil has a surface area of at least
3 m times 4 m.

In a desirable embodiment the foil is ralled on to &
winding tube. It is suspended therewith at the ceiling of the
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 41 of 87

5,865,519

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stage. Desirably ii is fixed to the ceiling, together with the
intelligent ght amplifier. The free end of the foil can be
pulled off the winding tube and is fixed to the floor of the
slaye. Asupport mounting arranged on the floor of the stage
is used for thal purpose.

The reflecting surface may be a white projection screen
which is to be laid on to the floor of the stage. The reflecting
surface however may also be a simple white coat of paint.
As the presenter moves ouiside it and more specifically
behind it, it retains Hs reflecting properties for a very long
period of time.

The apparatus according to the invention is advanta-
geously used in connection with a siage with a floor which
can be raised and lowered, The reflecting surface, the
projection screen, the coat of paint or the like, is disposed on
that parLof the floor, which can be raised and Jowered. When
(be floor is lowered the spacing belween the image source
and the reflecting surface is increased, As a result the virtual
image which appears in the background of the slage is
displaced rearwardly.

The epparaius according to the invention is to he easy to
transport from one location 10 another and to set up at
different locations. For thal purpose, in a desirable
embodiment, the invention provides ihat its components are
enclosed by a lattice frame and can be secured thereto.

Desirably, the lattice frame has units which can be set upon :

the hyo sides of the apparatus or the stage thereof and which
each have a lower girder portion, an upper girder portion, a
{front girder portion and a back girder portion. The lattice
frame units which can be set up on the two sides of the
apparatus or stage can be connected together by transversely
extending struts.

Desirably the winding tube is secured to the upper girder
portions by way of brackets while the mounting support
which holds the free ead of the foil is fixed to the lower
girder poriions.

The invention wil] now be further described by way of
ihe example of the embodiments illustrated in the drawing in
which:

FiG. | is a simplified diagrammatic side view of the
apparatus according to the invention,

FIG. 2 is a more detailed diagrammatic side view of the
apparatus according to the invention, simultancously show-
ing the auditorium,

FIG. 3 is a side view of the stage similarly to the
ilustration in FIG. 2 with the floor lowered,

PIG. 4 is a view of the auditorium and the stage looking
in the direction of the line [V—IV in FIG. 2,

FIG. 5 is a side view of the apparatus according to the
invention when using the lattice frames surrounding it, and
FIG. 6 is a view in the direction of the line VI—VI.

FIG. 1 shows the physical principle of the apparatus
according to the invention with the computer-controlled
intelligent light amplifier 12 which acts as an image source,
the mirror 14 which in the view in FIG. 1 is arranged to the
ieft in front of it and which projects the light radiated en to
it from (he light amplifier 12 on to the reflecting surface 18
in the form of a light cone 16 as indicated by two broken
lines, the foil 20 with its lower holding means in the form of
a mounting bracket 22 and its upper holding means in the
form of a winding tube 24 and the virtual image 26 which
is represented in the background of the stage, The computer-
controlled intelligent light amplifier 12 projects a moving
image on lo the mirror 14. This projects it on to the reflecting
surface 18 which projects it on to the foil 20. From the point
of view of a viewer who is at the left in FIG, I—see FIG.
2--3 moving image appears in the background as a virtual
image 26.

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FIGS, 2 and 3 show a practical application of the
apparatus according to the invention af 4 presentation or
lecture function, More specifically FEG. 2 again shows the
stage 28, the floor 30 thereof and the ceiling 32 thereof,
Extending under the ceiling 32 of the stage 28 over the entire
width thereof is a curtain or a cover rail or board 34. It covers
over in a forward direction the computer-controlled inieili-
gent light amplifier 12 and the mirror 14. The viewers 38 sit
in the auditorium 36. The presenter or lecturer 40 stands on
the stage 28 behind the reflecting surface 18. The reflecting
surface 18 is for example a projection screen or a coat of
white paint. The double-headed arrow shown under the floor
30 is intended to indicate that it can be raised and lowered.
FIG, 2 shows the floor 30 at its nermal height. The virtual
image 26 appears in the background of the stage 28 at a
given location. FIG, 3 shows the same stage 28 with the floor
30 lowered. When the floor 30 is lowered the virtual image
26 moves rearwardly, towards the right when looking at
FIGS. 2 and 3.

FIG. 4 shows a practical application of the apparatus
according fo the invention in a presentation function relating
to motor vehicles. FIG, 4 shows a presentation article 42, in
this oxample being a motor vehicle. The viewers 38 sec it in
the background as a virtual image. They do nei recognise
that this involves @ reflection at the reflecting surface 18 and
the foil 20. They oaly see how the presenter 40 moves freely
in front of the motor vehicle, points with his arms and hands
to the motor vehicle and parts ibereol, explains details in
words, and in so daing neither interferes with cor in any way
influences the reproduction of the motor vehicle in the
background in the form of the virtual image 26.

FIGS. 5 and 6 show the transportable embodiment of the
apparatus according to the invention, which can be set up at
any desired location. Lattice frames 44 which can be set up
at both sides of the apparatus serve for thal purpose. Each
laiuce frame comprises a lower girder portion 46, an upper
girder portion 48, a front girder portion 50 and a back girder
portion 32. Lattice frames of that kind are known. Each
girder portion comprises a plurality of parts which can be
releasably connected together, For the purposes of erecting
the apparatus, the parts of the girder portions are fitted
together and joined together. For wansportaiion purposes
they are separated from each other and can be transported in
the form of comparatively small units on a truck or the Like.
As shown in FIG, 5 the computer-controlled inteigent light
amplifier 12 and the winding tube 24 are fixed to a bracket.
The bracket is in turn fixed to a transverse strut which
connects the two upper girder portions 48. The same applies
ia regard to the mirror 14. When the apparatus is erected the
foil 20 is pulled off the winding tube 24, fixed to the
mounting bracket 22 and then tensioned, The reflecting
surface 18 is jaid on the floor in the form of a plate or the
like which is coated er painted white, or in the form of a
Projection screen. The stage 28 on which the presenter 40
stands wheo making bis presentation is composed of paris
which are knows per se on their own and it is erected in Lhe
rearward region of the apparatus.

t claim:

1, Apparatus for representing moving images in the back-
ground of a stage using an image source, said stage includ-
ing a floor, a ceiling disposed vertically above said floor and
a background disposed therebetween, said apparatus char-
acterised in thal a reflecting surface (18) is arranged on said
floor (30) of said stage (28) in the central region thereof, a
transparent smooth foi] (20) extends between said floor (30)
and said ceiling (32) at a position which is disposed further
forwardly, and the image source is arranged al the ceiling
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 42 of 87

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§

(32) in front of the upper end of the foil (20) which is held
there, and is directed oa to the reflecting surtace (18).

2, Apparatus as set forth in claim 1 characterised in that
the foil (18) extends at an angle of about 45° relative to the
floor (30) of the stage (28).

3. Apparaiis as set forth in claim 1 or claim 2 character-
ised in that the image source is a computer-contrelled
intelligent light amplifier (412).

4. Apparatus as set forth in claim 3 characterised in that
a mirror (14) is arranged in front of the computer-coutrelled
hight amplifier (12) and said light amplifier is directed on to
the mirror (14) and the mirror (14) receives the light radiated
from the ight amplifier (12), is directed on to the reflecting
surface (18) and projecis the light on to said reflecting
surface.

3. Apparatus as set forth in claim 4 characierised in that
the light amplifier (12) and the mirror (14) are covered over
forwardly by a curtain extending over the entire width of the
stage (28).

6. Apparatus as set forth in claim 1 characterised in that
the foil is subject to a tensile stress.

7, Apparatus as set forth in claim 6 characterised in that
the foil (20) has a surface area of at least 3m times 4 mm.

§. Apparatus as set forth in claim ? characterised in thal
the foil (20) is rolled on a winding tube (24) and can be
pulled off same and can be fixed with its free end in a support
mounting (22),

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9. Apparatus as sel forth in claim 1 characterised in that
the reflecting surface (18) is a coai of white paint.

10. Apparatus as set forth in claim 1 characterised in that
the reflecting surface (18) is a white projection screen.

11. Apparatus as set forth in claim 1 characterised in that
the floor (30) of ihe stage (28) can be raised and lowered,

12. Apparatus as set forth in claim 4 characterised in that
light amplifier (12), mirror (14), reflecting surface (18), foil
(20) and stage (28) arc enclosed by a lattice frame (44) and
can be fixed thereto.

13. Apparalus as set forth in claim 12 characterised in that
the lattice frame (44) includes two unils which can be sel up
on both sides of the stage (28) and each unit has a lower
girder portion (46), an upper girder portion (48), a front
girder portion (50} and a back girder portion (52).

14. Apparatus as set forth in claim 13 characterised in that
ihe two lattice frame units which can be sei up on both sides
of the stage (28) can be connected by transversely extending
stnits.

15, Apparatus as set forth in claim 4 characterised that the
light amplifier (12) and the mirror (14) are covered over
forwardly by a cover bar (34) extending over the entire
widih of the sfage (28).
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 43 of 87

Case 2:14-cv-00772-GMN-NJK Document 188

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Filed 01/30/15

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ay United States Patent (10) Patent No.: US 7,883,212 B2
O’Connell et al. (45) Date of Patent: Feb, 8, 2011
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(2), (4) Date: Sep. 30, 2006 /
Primary Examiner—Georgia Y Epps
(87) PCT Pub. No. WO2005/096098 Assistant Examiner—Ryan Howard
(74) Attorney, Agent, or Firm--Thomas, Kayden,
PCT Pub. Date: Oct. 13, 2005 Horstemeyer & Risley, LLP; Larry W. Brantley
(65) Prior Publication Data (37) ABSTRACT
US 2007/0201004 Al Aug. 30, 2007
An image projection apparatus (300) comprises a projector
(55) tnt. Ch (106), a frame (108), and a partially transparent screen (110).
GO3B 21/00 (2006.01) The frame (108) retains the screen (110) under tension, such
GIBB 21/56 (2006.01) that the screen (110) is inclined at an angle with respect to a
G02B 27/22 (2006.01) plane of emission of light from the projector (106). The screen
AO3G FAO (2006.01) (110) has 4 front surface arranged such that light emitted from
Ab3S 5/00 (2006.01) the projector (106) is reflected therefrom. The projector 106}
(52) US.CL eee 9583/10; 359/449; 359/478; projects an image such that light forming the image impinges
47263 upon the screen (11) such that a virtual image is created from
(58) Fleld of Classification Seareh .............. 353/10, light reflected from the screen (110), the virtual image

353/74, 79, 119, 122, 28; 359/443, 449,
359/447, 478, 479, 630; 472/58, 61, 63
See application file for complete search history.

appearing to be located behind the screen (118).

18 Claims, 4 Drawing Sheets

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Page 44 of 87
Case 2:14-cv-00772-GMN-NJK

Document 188 _ Filed 01/30/15 Page 45 of 87

US 7,883,212 B2
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U.S. Patent Feb. 8, 2011 Sheet 1 of 4 US 7,883,212 B2
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U.S. Patent Feb. 8, 2011 Sheet 2 of 4 US 7,883,212 B2

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Filed 01/30/15

Case 2:14-cv-00772-GMN-NJK Document 188

US 7,883,212 B2

Sheet 4 of 4

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Filed 01/30/15

US 7,883,212 B2

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PROJECTION APPARATUS AND METHOD
FOR PEPPER’S GHOST ILLUSION

This invention relates to a projection apparatus and
method, More particularly, but not exclusively, it relates io a
projection apparatus arranged. to project an image ofan object
upon an inclined, partially reflective, screen so as to give a
false perception of depth and a method for constructing such
an apparatus,

BACKGROUND OF THE INVENTION

The projection of an image upon a partially reflective
screen such that is observable by a viewer positioned in front
ofthe screen is known, the so-called “Peppers ghost” arrange-
ment that is known form fairground shows.

This has been applied to publicity and promotional dis-
plays where a presenter resides behind an inclined, partially
reflective screen, typically a tensioned foil, anto which an
image of, for example, a motor vehicle is projected, via at
least one reflective surface, see for example EP 0799436, The
focation of the presenter behind the projected image has a
number of inherent advantages over systems where the pre-
senter stands in front of a screen, nol least of which is that the
presenter does nat obscure the projected image when walking
across the projected image. Additionally, the use of an
incHned screen results in a viewer of the image perceiving the
image as having depth rather than merely being a two dimen-
sional image, for example where a motor vehicie is seen to
rotate upon a tumtable.

However, current image projection apparatus’ do have a
number of problems associated with them, for example,
mounting of the foil can prove difficult which in turn leads to
uneven tensioning of the foil and wrinkles upon the foil, that
impair the viewed quality of the image projected onto the foil.
Also, in mounting the foil the foil must be laid out upon a
clean dust free piece of cloth or plastic sheet, which is larger
than the foil, in order to prevent particles adhering to the foil,
such particles can scratch the surface ofthe foi! and impair the
viewed quality of the projected image or act as scattering
centres from which projected light is incoherently scattered,
thereby detracting from the viewed quality of the image as
this scattered light does not contribute to the viewed image.

Also, as the illusion of peppers ghost relies on the reflected
image formed by light contrasting with its immediate sur-
roundings and background. The stronger the reflected image,
the more satid that reflected image looks, the more vibrant the
colours will be, and the more visible the reflected image is to
an audience. In circumstances where the presenter may be
unable to control high levels of ambient light forward of the
foil, e.g. from an auditorium at a trade show, the high level of
ambien light results in significant levels of reflection of the
ambient light from the screen detracting from the strength of
the reflected image over the background. In these circum-

stances a bright projector (8000 iumens+) is desirable. How- 5

ever, the use ofa bright projector resulls in unwanted light
hitting the projection surface and reflecting through the foil to
create a milky hue upon the stage and around the area where
the reflected image appears.

Another problem wilh current image projection apparatus
16 that projectors used with such apparatus are very powerful,
typically 8,006 to 27,000 lumens and consequently project a
significant amount of ight into areas of'an image where there
is no object within the image. This is an inherent feature of
projectors and results in low cortrast ratios which leads to a
milky hue spread over the part of the film where the projector
is creating an image when the projector is switched on. The

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milky bue is clearly undesirable as it detracts from the view-
er’s perception that there is no screen present.

The level of the milky hue relative to the brightness of the
iniage is, at least partially, determined by the level of contrast
ratio offered in the projector. The higher the contrast ratio,
then the brighter the image can be relative to the brightness
level of the milky hue. Even projectors with contrast rations
as high as 3000:1 stili emit a milky light hue when. used in a
“Pepper's Ghost” arrangement.

A further problem associated with some projectors is the
“keystone” effect, in which distorted, typically elongated,
images (up and down) occur due to angled projection. This is
of particular relevance where depth perception is of impor+
tance. The solution employed in modern, expensive projec-
tors is to employ digital correction of keystone distortions.
However, older, legs-expensive or even some specialist High
Definition projectors do not employ such digital keystone
correction and are therefore difficult to configure for use with
current image projection apparatus. High definition (HD)
projectors do not offer keystone adjustment because when
keystone correction is attempted in conjunction with the
increased number of pixels about an image's edge causes the
pixels about the edge of the image to appear ‘cranched’,
Additionally, when processing moving images HD projectors
compronuse projector processing speed, When the process-
ing power is used to carry out both keystone correction and
motion processing the image is seen to jerk during move-
ments, an effect known as “chokking”. In general, it can be
said that the use of electronic keystone correction to alter a
video image will result in the degradation of picture quality
compared to an image which is not subject to such 2 process.

Additionally, current systems do not allow for the pro-
jected image to apparently disappear and re-appear from
behind a solid 319 object placed upon the stage, as the screen
lies in front of the presenter and closest to the viewing andi-
ence,

BRIEF SUMMARY OF THE INVENTION

According to a first aspect of the present invention thére is
provided a image projection apparatus comprising a projec-
tor, a frame, and an at least partially transparent screen:
the frame being arranged to retain the screen under tension,
such that the screen is inclined at an angle with respect to a
plane of emission of light from the projector,

the screen having a front surface arranged such that light
emitted from the projector is reflected therefrom; and

the projector being arranged to project an image such that
light forming the image impinges upon the screen such that a
virtual image is created from light reflected from the screen,
the virtual image appearing to be located behind the séreen,

Such an apparatus is advaritageous over present systems in
that the screen need not be coated with an expensive, partially
reflective coating, an angular dependence of reflectivity of
transparent dielectric materials can be used to bring about
partial reflectance of the projected image. Thus, this appara-
tus simplifies the manufacture of such systems and also
reduces their production costs. Additionally, the use of a
frame frees the screen from having to be fixed directly to a
ceiling, or a floor, and therefore increases the utility of appa-
ratus over the prior art systems.

The screen may be a foil. The foil may be rolled about a
cylinder when not in use. The screen may be inclined at
approximately 45° to the plane of emission of light from the
projector, The screen may comprise a partially reflective layer
upon the front surface.

Page 50 of 87
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15

US 7,883,212 B2

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The use of a foil sereen reduces the weight of the apparatus,
this allows ready transportation of the apparatus between
sites. Rolling the foil onto a cylinder when not in use serves to
protect the foil from damage during transportation and also
allows ready transportation of the apparatus between sites.
The use ofa partially reflective screen can increase the depree
of light reflected from the screen and can increase the audi-
ence perceived strength of the virtual image.

The screen may be attached to the frame at the screen’s
upper and/or lower edges. The frame may comprise first and
second retention members arranged to sandwich an edge
region of the screen therebetween. At least one of the first and
second retention members may comprise an abrasive coating,
typically sandpaper, arranged to contact the screen, The first
and second retention members may comprise respective
openings therethrough that may be arranged to collocate with
openings in respective jaws of clamping members attached to
tensioning straps, the openings may be arranged to receive a
fixing, means so as to clamp the screen between the first and
second retention members, The tensioning straps may be
allached to a truss arrangement and may be adjustable such
that the tension of the screen within the truss arrangemeni can
be varied about the periphery of the screen. Preferably, the
retention members are substantially parallel to truss members
comprising the truss arrangement.

The use of a variable tensioning arrangement allows
wrinkdes upon the screen to be minimised, and ideally eradi-
cated to present a smooth surface for upon which the image
can be projected. An abrasive surface upon at least one of the
retention members increases the grip between the retention
member and the screen thereby reducing the ikeEhood of the
screen slipping when held by the retention member.

The apparatus may comprise a pigmented reflective mem-
ber in an optical pathway between the projector and the
screen. The pigmented member may reflect only part of the
visible spectrum ef light, typically the pigmented member
will appear prey or white fo a viewer,

It has been found that the use ofa grey reflective member in
the optical pathway between the projector and the screen
reduces the ouiline of the reflective member upon the screen
compared to when a while reflective member is used, and also
reduces the level of the milky white hue associated with the
projector emitting light where there is no image of an object
to be projected.

The pigmented reflective member may be inclined at an
angle with respect to the plane of emission of light from the
projector. The angle of inclination of the member with respect
to the plane of emission of light from the projector may be
variable. The member may comprise a plurality of sections
each of which may have an independently variable angle of
inclination with respect to the plane of emission of light from
the projector.

The inclination of the reflective member can compensate,
at least partially and in some instances completely, for key-
stone effect. The variation of the angle of inciination or dis-
tance af the reflective member allows for a variation of the
apparent depth and/or position of an object when projected
upon the screen. This is because the virtual image appears as
far behind the screen as the real image is in front of the screen.

There may be a reflective device, typically a mirror,
arranged to direct light projected fram the projector on to the
reflective member. Typically, the reflective device is mounted
upon an upper part ef the framework. The reflective member
may be parallel, ar substantially parallel, to the reflective
device. In some embodiments the projector may be mounted
upon an upper truss of the framework and may be aligned with

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the horizontal, typically light projected from the projector is
directed on to the reflective device,

Such an arrangement compliments the keystone correction
achievable by the inclination of the screen and the reflective
member and is particulariy useful where an HD projector is
used in order to compensate for the keystone effect without
the use of the projector's processing power.

The reflective member may comprise a mask correspond-
ing to the apparent location of a prop in the screen to an
audience. Typically, die mask will absorb light over at least a
fraction of the visible spectrum and preferably the mask will
be black. The mask may be arranged to produce an area upon
the screen npoa which the image is not projected, The mask
may vary in extent and shape, for example by the use of a
sliding element that is moved in and out of position upon the
reflective member.

The mask can be used to make the illusion of an article
disappearing and reappearing behind a prop that is placed
upon a stage, either behind or in front of the screen.

The apparatus may comprise a light source arranged to
selectively ilhuminate an area of stage comprising the prop.
The hight source may be a white light source Lighting the prop
causes the prop to become more visible and better defined
against the dark, typicaily black, background. This enhances
the three dimensional effect of the projected image interact-
ing with the prop.

Also directing bright light upon the prop serves to reduce
the contrast ratio of the projected image upon the prop, which
typically remains slightly visible even when a mask is used in
the prop’s shadow upon the reflective member, thus enhanc-
ing the Musion of the projected image disappearing behind
the prap.

The apparatus may comprise a light source arranged to
illuminate at least part of a stage. The light source may be
located to the rear of the screen, typically along a top edge of
the frame and/or along either side ofthe stage. The apparatus
may comprise a plurality of light sources. The apparatus may
comprise 2 lighting desk equipped with faders arranged. to
control the fevel of each light source, or selection mearis
amanged to selectively control the supply of power to each
light source.

Such a light source is used in order that the colour and light
feveis of the area immediately surrounding the peppers ghost
image, the stage background, can most closely match the
colour of the projection surface background, excluding the
area on both which is carrying the image. This, reduces the
milky hue perceived by the audience. The use ofa plurality of
light sources increases the unifommity of lighting of the stage,
in order to produce a similar effect to the way light emitted
from a projector hits the projection screen. By controlling
each light source separately the lighting levels upon the stage
can be controlled to closely match the levels of light as dic-
tated by the show performance, or the levels of unwanted light
hitting the projection surface of the screen.

The projector may comprise a standard projector, for
example a JVC ML4000, or a Barco G5. Alternatively, the
projector may comprise an LCD, or a television display, The
display may comprise at least one element arranged to be
non-emitting in response to control from a processor. The at
least one element may form a mask arranged to produce an
area upon the screen upon which the image is not projected.
The mask may correspond to the shape and location of a prop
upon stage. The prop may be three dimensional.

Page 51 of 87
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15

US 7,883,212 B2

5

According to a second aspect of the present invention there
is provided a method of providing a projection apparatus
comprising the steps of

(1) resting 3 frame upon a number of elevation means;
Ci} attaching leg sections to the frame;

Gii) increasing the height of the elevation means;

(iv) adding further leg sections;

(vi) attaching a lower edge ofa screen to a lower rear piece of
the frame;

(vil) raising an upper edge of the screen to adjacent an upper
front section of the frame; and

(vii) attaching the upper edge of the screen to the upper front
section of the frame.

The methed may comprise providing the clevation means
in the form of a jack,

The method may comprise providing the screen in the form
ofa film. The method may comprise removing 4 roll of screen
film from a protective cylindrical casing. The method may
comprise laying the screen upon a dust-free protective sheet.

The method may comprise placing the lower edge of the
screen between jaws of a first retention member and may
further comprise securing the screen in position using a fixing
means passing through the retention member and the screen
and a locking means arranged to lock the fixing means being
arranged to secure the jocking means in position. The methad
may comprise providing the fixing means inthe form ofa bolt
and the locking means in the form of a wut.

The method may comprise attaching tensioning means to
the retention member adjacent at least some of the fixing
means.

‘The method may comprise attaching the tensioning means
to the lower rear piece of the frame.

The method may comprise attaching a second retention
member to an upper edge of the film screen, typically in the
same manner as the first retention member is attached to the
lower edge. The method may comprise attaching tensioning
means to the second retention member. The method may
comprise providing the tensioning members in the form of
ratchet straps.

The method may comprise attaching a rope te the second
retention member and passing the rope over the upper frame
and using the rope in step (vii) to raise the screen.

‘The method may include tensioning each of the tensioning
means such that the screen is flat and substantially wrinkle
free.

The method may include depending a projector from the
upper frame.

The method may include placing a pigmented reflective
board between the screen and a front edge of the frame. The
method may comprise reflecting light emitted by the projec-
tor from the board onto the screen,

The method may comprise forming the frame form a truss
work.

According toa third aspect of the present invention there is
provided a projection apparatus constructed according to the
second aspect of the present invention.

BRIEF DESCRIPTION OF THE SEVERAL
VIEWS OF THE DRAWINGS

The invention will now be described, by way of example
only, with reference to the accompanying drawings, in which:

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FIG. 1 is a schematic representation of a first embodiment
ofa projection apparatus according to at least an aspect af the
present invention;

FIG, 2 is a side view of a the projection apparatus of FIG.
I showing a pigmented reflective member in first and second
positions;

FIG. 2a is a schematic representation of an alternative
projection arrangement, suitable for use with the apparatus of
FIGS. 1 and 2;

FIG. 3 is a schematic representation of a second embcdi-
ment ofa projection apparatus accarding to at least an aspect
of the presen invention,

FIG. 4 is # perspective view of a screen clamping arrange-
ment of FIGS. 1, 2 and 3; and

FIG, 3 is a schematic view of a projection apparatus being
constructed according to the second aspect of the present
invention.

DETAILED DESCRIPTION OF THE INVENTION

Referring now to FIGS. 1, 2 and 4, a projection apparatus
100 comprises 2 box frame 102 formed of trusses 104, a
projector 106, a support frame 108, a screen 110 held within
the support frame 108 and a grey pigmented reflective board
412.

The projector 196 depends from a front upper cross-piece
truss 104a of the box frame 102. The board 112 lies below the
projector 105 at the base of ihe box frame 102. The screen
110, is inclined al approximately 45° to the horizontal and the
front edge of the screen 110 is proximate the front upper
cross-piece truss 14a of the box frame 12 and the rear edge
of the screen is proximate a stage 109 that lies to the rear of the
box frame 102.

The screen 110 is typically a polymeric foil, which can
have a partially reflective coating upon a front face of the foil.
The screen 110 is retained within the box frame 102 by means
of tensioning straps £14 attached to the box frame 102, at the
top and bottom edges of the screen 110. Ata free end of each
of the tensioning straps 114 there is pair of clamp jaws 116
which have respective openings 118, 120 passing there-
through. The faces of the jaws 116 are optionally coated with
an abrasive 1241, such as sandpaper, in order to enhance the
grip of the jaws 116 upon the screen 110.

Edges of the screen 110 are placed between the jaws 116
and a bolt 122 is placed through the openings 118, 120 and
passes through the screen 110. A nut 124 is threaded onto the
bolt 122 and tightened to hold the sereen 110 between the
jaws 116. The tensioning straps 114 pass through the trusses
104 and are tightened using a friction locking buckle arrange-
ment 128,

Each of the tensioning straps 1.14 can be tightened or loos-
ened individually so as to allow an even tension to be applied
over the whole surface of the screen 110 thereby reducing,
and ideally eliminating, the formation of wrinkles upon. the
screen 110 which reduce the quality of an image projected
upon the screen 110.

The reflective board 112 lies below the projector 106 adja-
gent to a lower front cross-piece truss 1046 of the box frame
102. The projector 106 is directed such that light emitted by
the projector 106 strikes the reflective board 112. The board
112 is inclined se that the light emitted by the projector 106 is
reflected upwards from the board 112 onto the sercen. 110.
The use of a grey, or otherwise coloured board 112 reduces
the milky hue associated with light from the projector where
there is no image to be projected.

A fraction of the projected light striking the screen 110 is
reflected from the front surface of the screen 110 where is can

Page 52 of 87
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15

US 7,883,212 B2

4

be viewed by an audience. A presenter upon the stage 109
behind the screen 110 can also be viewed by the audience but
does not interfere with the viewing of the image by the audi-
ence,

The board 112 is connected to 3 hinge arrangement 130
along a rear edge thereof, The hinge arrangement 130 allows
the board 112 to be raised and lowered, typically bea hydrau-
lic ramp 132 controlled by a computer 134, in order to com-
pensate for the ‘keystone’ effect. Altematively, the board 112

can be raised and lowered by the person pulling upora string, 1

or an electric motor to drive the board up and down.

The raising and lowering of the board 142 also allows for
the audience's perception of the positional depth upon the
stage of an element of a projected image to be altered by
varying the height of the element of the image upon the screen
110. It is envisaged that the board 112 may comprise a num-
ber of individual sections each of which may be raised an
lowered individually in order to allow the perceived depth of
an individual element of an image to be varied independently
of other elements of the image.

A non-reflective mask 136 in the shape of a prop 138, in
this example a rock, is placed upon the board 112. The prop
138 is place upon the stage 109, typically behind the sereen
E19. The mask 136 is placed such that the board 112 is
obscured in a region corresponding to where the prop 138 is
located with respect to the sereen 114. This arrangement of
mask 136 and prop 138 results in an image, or part of the
image, projected upon the screen 110 apparently disappear:
ing as the image, or part of the image, passes over prop 138
and reappearing once the image, or part of the image has
passed over the prop 138 as the mask 136 prevents light being
reflected onto the region of the screen 1140 corresponding to
the Jocation of the prop 138. The mask 136 can be variable in
size and shape, for example by means of a sliding panel that
is moved into location and varied in size according to the size
of the prop 138. This also allows for the depth perception of
props to be varied as their apparent effect upon variable depth
image elements, as discussed hereinbefore, can be varied
appropriately, for exampie a given size of rock will obscure
proportionately more of a distant image than the same rock
will of a near image.

A light source 140 is mounted upon the box frame 102 and
iMuminates the prop 138 in order to reduce the effect of any
residual light reflected from the board 112 onto the prop.

Referring aow to FIG. 2a, an alltemative projection
arrangement 200, suitable for use with the apparatus of FIGS.
J and 2 with an additional truss, comprises the projector 106
depending from a truss 202 forward of the screen 110, an
inclined mirror 204 of variable inclination depending from a
second truss 206 forward of projector 110. The projector 166
projects an image on to the mirror 204 such that the image is
projected on to the reflective board 112 and on to the screen
110, The mirror 204 is typically arranged to be perpendicular
to the board 112, and in embodiments where the board 112
has a variable angie of inclination the mirror 204 will usually
be arranged to track, synchronously, with any variation in the
angle of inchnation of the board 112.

ht will be appreciated that the term mirror is used herein to
describe any reflective surface that reflects substantially all,
typically in excess of 50% preferably in excess of 80%, light
inpinging upon it.

Referring now to FIG. 3, a projection apparatus 300 is
substantially similar to that of FIGS. ¥ and 2 accordingly
identical parts to those of FIGS. | and 2 are accorded similar
reference numerals in the three hundred series.

A projection screen 306 resides in front of the screen 310
adjacent the lower front cross-piece truss 3044. The projec-

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tion screen 306 is typically a liquid crystal display (LCD)
screen or a television screen. The projection screen 306
projects an image upwards onto the front surface of the screen
310. The use of a projection screen 306 removes the ‘key-
stone’ effect associated with conventional projectors.

A mask 33¢ can be formed upon the screen by use of a
computer 340 to control the projection screen 306 to black out
the appropriate part of the projection screen 306 electroni-
cally. This removes the need for a physical mask to be pro-
duced. The computer 340 can be used to switch of areas of the
projection screen 306 which do not contain part of an image
fo be projected, this reduces the milky white hue associated
with such areas when using conventional projectors. Also, the
use of a computer 340 to contro! the projection screen 306,
together with image sizing in relation to image movement
allows an image te be readily scaled and positioned upon the
projection screen 306 to enhance an audience's perception of
depth and movement ofa projected image using known image
processing techniques. Alternatively, the projection screen
306, or sections of the projection screen 306, can be raised
and lowered under the control of the computer 340 in order to
enhance the audience’s perception of depth of the projected
image.

Referring now to FIG. 5, a box truss framework S00 com-
prises a square upper truss work 502 and leg trusses 504. In
constructing the framework 500 the upper truss work 502
rests upon a number of jacks $06. First sections 508 of the leg
trusses 504 that extend at right angles to the upper truss work
502 are added at the corners of the upper truss work 502, The
height of the jacks 506 is increased to allow additional sec-
tions 510 of the leg trusses 504 to be added until the desired
height cf the box truss framework 500 is achieved.

A cross-plece truss $12 is fixed to two of the leg trusses 504
such that it horizontally spans the gap therebetween at a
height close to, and typicatly slightly below, the level of a
stage Hoor 514. The leg trusses §04 spanned by the cross-
piece truss 512 constitute the rear legs of the framework S00
and are located adjacent the front of the stage floor 514,

A dust-iree protective plastic sheet 515 is laid across the
width of the stage floor 514 ia [rent of the rear legs of the
framework 500, A roll of screen film 518 is removed from a
protective cylindrical casing 520 and is unwound across the
width of the stage floor $14. The Gim 518 is placed upon the
sheet $15 in order to prevent damage to the surface from dest
particles or other sharp protrusions.

A lower edge 522 of the film 518 is placed between jaws
52da,6 of a retention member 526, each jaw $24a,5 having
oppased openings therethrongh spaced at approximately 0.5
m intervals. Boits 528 are placed through the openings, and
through the film 518, and secured in position using respective
nuts, Ratchet straps $32 are attached to the retention member
526 adjacent alternate bolts 528, having a spacing ofapproxi-
mately | m, and are then attached to the cross-piece truss 512.

A second retention member 534 is attached to an upper
edge 536 of the film 518 in a sitcilar manner to how the
retention member 526 is attached to the Jower edge 522.
Ratchet straps 538 are attached to the second retention mem-
ber 534,

A rope 549 is tied to the second retention member 534 and
is passed over the upper truss work 502 opposite the cross-
piece truss $12. The film raised into position using the rope
540 and the ratchet straps 538 are attached to the upper truss
work 302. Both sets of ratchet straps 532, 538 are tightened
individually until the screen filen is tensioned such that the
film $18 is flat and, ideally, free from wrinkles.

A projector $42 :s depended from the upper truss work $02
and a pigmented reflective board 544 is placed between the

Page 53 of 87
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15

US 7,883,212 B2

9

screen 518 and the front edge of the box truss framework 500
such that light emitted by the projector $42 is reflected from
the board 544 onto the screen 518. The screen 518 reflects at
least part of the light from a front surface thereof away from
the slage and into an auditorium to be viewed by and audi-
ence.

In order Co prevent the audience observing the projection
apparatus both side and front drapes $46 are used to screen the
apparatus from the audience.

The invention claimed is:

1. An image projectien apparatus, comprising:

a projector, a frame, a light source and an at least partially

transparent screen;
the frame being arranged to retain the screen under tension,
such that the tension of the screen can be varied al a
plurality of positions along at least one edge of said
screen such that the screén is substantially wrinkle free;

the light source arranged to illuminate at least part of the
apparatus;

the screen inclined at an angle with respect to a plane of

emission of light from the projector and the screen hav-
ing a front surface arranged such that light emitted from
the projector is reflected therefrom; and

the projector being arranged to project an image such that

light forming the image impinges upon the screen such
thal a virtual image is created from Hght reflected fom
the screen, the virtual image appearing to be located
behind the screen, wherein the screen is foi) and the
frame compnises first and second retention members
each arranged to sandwich an edge region of the screen
therebetween, the first and second retention members
comprising respective openings therethrough arranged
to collocate with respective openings in the screen,
wherein the openings are arranged to receive a fixing
means so as to clamp the screen between the first and
second retention members, and wherein at jeast one of
the first and second retention members is attached to
tensioning straps.

2. The apparatus of claim 1, wherein the screen is attached
to the frame at the screen’s upper edge, lower edge, or both.

3. The apparatus of claim 1, wherein the tensioning straps
are attached to a truss arrangement or a fixed mounting point
located in a permanent structure such as a wall, floor or ceiling
and are adjustable such that the tension of the screen within
the truss arrangement can be varied about the periphery of the
screen.

4. The apparatus of claim 3, wherein the retention members
are substantially parallel to truss members comprising the
truss arrangements.

§. The apparatus of claim 1, wherein the screen is inclined
atapproximately 45° to the plane of emission of light from the
projector.

§, The apparatus of claim 1, wherein the light source is
located to the rear of the screen, along a top edge of the frame,
along either side of a stage, or some combination thereof.

7, An image projection apparatus, comprising:

aprojector, a frame or fixed mounting points, and anat least

partially transparent screen;

the frame or fixed mounting points being arranged to retain

the serven under tension, such that the screen is inclined
at an angle with respect to a plane of emission of light
from the projector;

the screen having a front surface arranged such that light

emitted. from the projector is reflected therefrom; and
the projectar being arranged to project an image such that

light forming the image impinges upon the screen such

that a virtual image is created from light reflected from

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the screen, the virtual image appearing to be located
behind the screen, and wherein the frame comprises first
and second retention members arranged to sandwich an
edge region of the screen therebetween, and wherein a
plurality of fixing means pass through the first retention
member and through the screen and clamp the screen
between the first and second retention members, and.
optionally locking means is provided adapted to lock the
fixing means;

wherein the screen is a polymeric transparent foil that is

held taught and substantially wrinkle-free by the reten-
tion members, the retention members having generally
paraliel faces which clamp an edge region of the foul
between them, and wherein individually variable foil
tensioning mechanisms are provided at spaced apart
locations around the periphery of the foil to enable the
foil to have tensioning force independently varied at the
said spaced apart jocations around the periphery of the
foil, and wherein the first and second retention members
are connected to one or more flexible tensioning means,
which extend from the frame or fixed mounting points to
the foil-gripping members, the foil, flexible tensioning
means and the frame or fixed mounting points lying in a
common inclined plane, with the tension on the foil
being applied in the plane of the flexible tensioning
means, and ihe foil, the tensioning mechanisms com-
prising straps and ratchet strap tensioners, or straps and
a friction-locking buckle arrangement.

&, The apparatus according to claim 7, wherein respective
locking means are provided for the fixing means.

9. The apparatus according to claim 8, wherein the Jocking
means 1s provided in the form of nuts, to lock the fixing means
in position, the fixing means extending through the retention
members and the screen.

46. The apparatus according to claim 7, wherein the first
and second retention members comprise a plurality of respec-
tive openings, with the fixing means extending through the
openings.

11. The apparatus according to claim 7, wherein an abra-
sive surface is provided on at least one of the retention mem-
bers to increase the grip between the retention member and
the screen, thereby reducing the likelihood of the screen stip-
ping when held by the retention member.

12. The apparatus according to claim 11, wherein the abra-
sive surface comprises sandpaper.

13. The apparatus according to claim 7, wherein the screen
is a foil.

i4, An image projection apparalus, comprising:

a profector, a frame or fixed mounting points, and an at least

partially transparent screen;

the frame or fixed mounting points being arranged to retain

the screen under tension, such that the screen is inclined
at an angle with respect to a plane cf emission of ight
from the projectar;

the screen having a front surface arranged such that light

emitted from the projector is reflected therefrom; and
the projector being arranged to project an image such that
light forming the image impinges upon the screen such
that a virtual image is created from light reflected from
the screen, the virtual image appearing to be located
behind the screen, and wherein the frame comprises first
and second retention members arranged to sandwich an
edge region of the screen therebetween, the first and
second retention members being connected to one or
more flexible tensioning means, which extend from the
frame or fixed mounting points, the foil, flexible tension-
ing means and the frame or fixed mounting points lying

Page 54 of 87
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 55 of 87

US 7,883,212 B2
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ina common inclined plane, with the tension on the foil 16. The apparatus according to claim 14, wherein the
being applied in the plane of the flexible tensioning screen is attached to the frame at the screen’s upper edge,
means and the foil, and wherein a plurelity of fixing lower edge, or both.

means pass through the first retention member and
through the screen and clamp the screen between the 5
first and second retention members, optionally locking
means 3s provided adapted to lock the fixing means, and
the first and second retention members comprise respec-

17. The apparatus according to claim 14, wherein the ten-
sioning straps are altached to a truss arrangement or a fixed
mounting point located in a permanent structure such as a
wall, flocr or ceiling and are adjustable such that the tension

tive openings therethrough arranged to collocate with ofthe Sereetl within the truss arrangement can be varied about
Openings in respective jaws of clamping members 10 the periphery of the sereen. . .
attached to tensioning straps. 18. The apparatus according to claim 17, wherein the reten-

15. The apparatus according to claim 14, wherein the tion members are substantially parallel to truss members
screen comprises 2 partially reflective layer upon the font comprising the truss arrangement.
surface and is inclined at approximately 45° to the plane of
emission of light from the projector. x eR Rt
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 56 of 87

Case 2:14-cv-00772-GMN-NJK Document 188

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az) United States Patent
O’Connell et al.

Filed 01/30/15 Page 57 of 87

US 8,328,361 B2
Dec. 11, 2012

do) Patent No.:
(45) Date of Patent:

(34) PROJECTION APPARATUS ANB METHOD
FOR PEPPER’S GHOST ILLUSION

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Rock, London (GB)

(73) Assignee: Musion IP Limited (GB)

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A63F 5/00 (2006.01)
(52) US.Ch oo, 353/10; 359/449. 359/478, 472/63
(58) Field of Classification Search .........000.0. 353/70,

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See application file for complete search history.

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Kayden,

(57) ABSTRACT

An image projection apparatus includes a projector, a frame,
and a partially transparent screen. The frame retains the
screen under tension, such that the screen is inclined at an
angle with respect to a plane of emission of light from the
projector. The screen has a front surface arranged such that
light emitted from the projector is reflected therefrom. The
projector projects an image such that ight forming the image
impinges upon the screen such that a virtual image is created
from light reflected from the screen, the virtual image appear-
ing to be located behind the screen.

20 Claims, 4 Drawing Sheets

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U.S. Patent

Filed 01/30/15

Page 58 of 87

US 8,328,361 B2

Dec. 11, 2012 Sheet | of 4
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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 59 of 87

U.S. Patent Dec. 11, 2012 Sheet 2 of 4 US 8,328,361 B2

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 60 of 87

U.S. Patent Dec. 11, 2012 Sheet 3 of 4 US 8,328,361 B2
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Fig. 3

Page 61 of 87

Filed 01/30/15

Case 2:14-cv-00772-GMN-NJK Document 188

US 8,328,361 B2

Sheet 4 of 4

Dec. 11, 2012

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Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 62 of 87

US 8,328,361 B2

I
PROJECTION APPARATUS AND METHOD
FOR PEPPER’S GHOST ILLUSION

This invention relates to a projection apparatus and
method. More particularly, but not exclusively, it relates to a
projection apparatus arranged to project an image of an object
upon an inched, partially reflective, screen so as to give a
false perception of depth and a method for constructing such
an apparatus.

BACKGROUND OF THE INVENTION

The projection of an image upon a partially reflective
screen such that is observable by a viewer positioned in front
of the screen is known, the so-called “Peppers ghost” arrange-
ment that is known form fairground shows.

This has been applied to publicity and promotional dis-
plays where a presenter resides behind an inclined, partially
reflective screen, typically a tensioned foil, onto which an
image of, for example, a motor vehicle is projected, via at
least one reflective surface, see for example EP 0799436. The
localion of the presenter behind the projected image has a
number of inherent advantages over systems where the pre-
senter stands in front of a screen, not least of which is that the
presenter does nat obscure the projected image when walking
across the projected image, Additionally, the use of an
inclined screen results in a viewer of the image perceiving the
image as having depth rather than merely being a two dimen-
sional image, for example where a motor vehicle is seen to
rotate upon a turmtabie.

However, current image projection apparatus’ do have a
number of problems associated with them, for example,
mounting of the foil can prove difficult which in turn leads to
uneven tensioning of the foil and wrinkles upoa the foil, that
impair the viewed quality of the image projected onto the foil.
Also, in mounting the foil the foil must be laid out upon a
clean dust free piece of cloth or plastic sheet, which is larger
than the foil, in order to prevent particles adhering to the foil,
such particles can scratch the surface of the foil and impair the
viewed quality of the projected image or act as scattering
centres from which projected light is incoherently scattered,
thereby detracting from the viewed quality of the image as
this scattered light does not contribute to the viewed image.

Also, as the illusion of peppers ghost relies on the reflected
image formed by light contrasting with its immediate sur-
roundings and background. The stronger the reflected image,
the more solid that reflected image looks, the more vibrant the
colours will be, and the more visible the reflected image is to
an audience. In circumstances where the presenter may be
unable to control high levels of ambient light forward of the
foil, e.g. from an auditorium at a trade show, the high level of
ambient light results in significant levels of reflection of the
ambient ight from the screen detracting from the strength of
the reflected image over the background. In these circum-
stances a bright projector (8000 tumens+} is desirable. How-
ever, the use of a bright projector results in unwanted light
hitting the projection surface and reflecting through the foil to
create a milky hue upon the stage and around the area where
the reflected image appears.

Another problem with current image projection apparatus
is that projectors used with such apparatus are very powerful,
typically 8,000 to 27,000 lumens and consequently project a
significant amount of light into areas of an image where there
is no object within the image. This is an inherent feature of
projectors and results in low contrast ratios which leads to a
milky hue spread over the part of the film where the projector
is crealing an image when the projector is switched on. The

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milky hue is clearly undesirable as it detracts from the view-
er’s perception that there is no screen present.

The level of the milky hue relative to the brightness of the
image is, at least partially, determined by the level of contrast
ratio offered in the projector. The higher the contrast ratio,
then the brighter the image can be relative to the brightness
level of the milky hue. Even projectors with contrast rations
as high as 3000:1 still emit a milky light hue when used in a
“Pepper’s Ghost” arrangement.

A further problem associated with some projectors is the
“keystone” effect, in which distorted, typically elongated,
images (up and down) occur due to angled projection. This is
of particular relevance where depth perception is of impar-
tance. The solution employed in modern, expensive projec-
tors is to employ digital correction of keystone distortions.
However, older, less-expensive or even: some specialist High
Definition projectors do not employ such digital keystone
correction and are therefore difficult to configure for use with
current image projection apparatus. High definition (HD}
projectors do not offer keystone adjustment because when
keystone correction is attempted in conjunction with the
increased number of pixels about an image’s edge causes the
pixels about the edge of the image to appear ‘crunched’.
Additionally, when processing moving images HD projectors
compromise projector processing speed. When the process-
ing power is used 1o carry out both keystone correction and
motion processing the image is seen to jerk during move-
ments, an effect known as “chokking”. In general, it can be
said that the use of electronic keystone correction to alter a
video image wil! result in the degradation. of picture quality
compared to an image which is not subject to such a process.

Additionally, current systems do not allow for the pro-
jected image to apparently disappear and re-appear from
behind a solid 3D object placed upon the stage, as the screen,
lies in front of the presenter and closest to the viewing audi-
ence.

SUMMARY OF THE INVENTION

According to a first aspect of the present invention there is
provided a image projection apparatus comprising a projec-
tor, a frame, and an at least partially transparent screen:

the frame being arranged to retain the screen under tension,
such that the screen is inclined at an angle with respect to a
plane of emission of light from the projector,

the screen having a front surface arranged such that light
emitted from the projector is reflected therefrom; and

the projector being arranged to project an image such that
light forming the iniage impinges upon the screen such that a
virtual image is created from light reflected from the screen,
the virtual image appearing to be located behind the screen.

Such an apparatus is advantageous over present systems in
that the screen need not be coated with an expensive, partially
reflective coating, an angular dependence of reflectivity of
transparent dielectric materials can be used to bring about
partial reflectance of the projected image. Thus, this appara-
tas simplifies the manufacture of such systems and also
reduces their production costs. Additionally, the use of a
frame frees the screen from having to be fixed directly to a
ceiling, or a fioor, and therefore increases the utility of appa-
ratus over the prior art systems.

The screen may be a foil. The foil may be rolled about a
cylinder when not in use, The screen may be inclined at
approximately 45° to the plane of emission of light from the
projector. The screen may comprise a partially reflective layer
upon the front surface.
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 63 of 87

US 8,328,361 B2

3

The use of a foi! screen reduces the weight of the apparatus,
this allows ready transportation of the apparatus between
sites. Rolling the foil onto a cylinder when not in use serves to
protect the foi from damage during transportation and also
allows ready transportation of the apparatus between sites.
The use ofa partially reflective screen can increase the degree
of light reflected from the screen and can increase the audi-
ence perceived strength of the virtual image.

The screen may be attached to the frame at the screen's
upper and/or lower edges. The frame may comprise first and
second retention members arranged to sandwich an edge
region of the screen therebetween. At least one of the first and
second retention members may comprise an abrasive coating,
typically sandpaper, arranged to contact the screen. The first
and second retention members may comprise respective
openings therethrough that may be arranged to collocate with
openings in respective jaws of clamping members attached to
tensioning straps, the openings may be arranged to receive a
fixing means so as to clamp the screen between the first and
second retention members. The tensioning straps may be
attached lo a truss arrangement and may be adjustable such
that the tension of the screen within the truss arrangement can
be varied about the periphery of the screen. Preferably, the
retention members are substantially paralle! to truss members
comprising the truss arrangement.

The use of a variable tensioning arrangement allows
wrinkles upon the screen to be minimised, and idealiy eradi-
cated to present a smooth surface for upon which the image
can be projected, An abrasive surface upon at least one of the
retention members increases the grip between the retention
member and the screen thereby reducing the likelihood of the
screen slipping when held by the retention member.

The apparatus may comprise a pigmented retlective mem-
ber in an optical pathway between the projector and the
screen. The pigmented member may reflect only part of the
visible spectrum of light, typically the pigmented member
will appear grey or white to a viewer.

Tt has been found that the use ofa grey reflective member in
the optical] pathway between the projector and the screen
reduces the outline of the reflective member upon the screen
compared to when a white reflective member is used, and also
reduces the level of the milky white hue associated with the
projector emiiting light where there is no image of an object
to be projected.

The pigmented reflective member may be inclined at an
angle with respect to the plane of emission of light from the
projector. The angle ofinclination of the member with respect
to the plane of emission of light from the projector may be
variable. The member may coniprise a plurality of sections
each of which may have an independently variable angle of
inclination with respect to the plane of emission of light from
the projector.

The inclination of the reflective member can compensate,
at least partially and in some instances completely, for key-
stone effect. The variation of the angle of inclination or dis-
tance of the reflective member allows for a variation of the
apparent depth and/or position of an object when projected
upon the screen. This is because the virtual image appears as
far behind the screen as the real image is in front of the screen.

There may be a reflective device, typically a mirror,
arranged to direct light projected from the projector on to the
reflective member. Typically, the reflective device is mounted
upon an upper part of the framework. The reflective member
may be parallel, or substantially parallel, to the reflective
device. In some embodiments the projector may be mounted
upon an upper truss of the framework and may be aligned with

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the horizontal, typically light projected from the projector is
directed on to the reflective device.

Such an arrangement compliments the keystone correction
achievable by the inclination of the screen and the reflective
member and is particularly useful where an HD projector is
used in order to compensate for the keystone effect without
the use of the projector’s processing power,

The reflective member may comprise a mask correspond-
ing to the apparent location of a prop in the screen to an
audience. Typically, the mask will absorb light over at least a
fraction of the visible spectrum and preferably the mask will
be black. The mask may be arranged to produce an area upon
the screen upoa which the image is not projected. The mask
may vary in extent and shape, for example by the use of a
sliding element that is moved in and out of position upon the
reflective member,

The mask can be used to make the illusion of an article
disappearing and reappearing behind a prop that is placed
upen a stage, either behind or in front of the screen.

The apparatus may comprise a light source arranged to
selectively illuminate an area of stage comprising the prop.
The light source may be a white light source

Lighting the prop causes the prop to become more visible
and better defined against the dark, typically black, back-
ground. This enhances the three dimensional effect of the
projected image interacting with the prop. Also directing
bright light upon the prop serves to reduce the contrast ratio of
the projected image upon the prop, which typically remains
slightly visible even when a mask is used in the prop’s shadow
upon the refiective member, thus enhancing the illusion of the
projected image disappearing behind the prop.

The apparatus may comprise a light source arranged to
illuminate at least part of a stage. The light source may be
located to the rear of the screen, typically along a top edge of
the frame and/or along either side of the stage. The apparatus
may comprise a plurality of light sources. The apparatus may
comprise a lighting desk equipped with faders arranged to
control the level of each light source, or selection means
arranged to selectively contro] the supply af power to each
light source.

Such a light source is used in order that the colour and light
levels of the area immediately surrounding the peppers ghost
image, the stage background, can most closely match the
colour of the projection surface background, excluding the
area on both which is carrying the image. This, reduces the
milky hue perceived by the audience. The use ofa plurality of
light sources increases the uniformity of lighting of the stage,
in order to produce a similar effect to the way light emitted
from a projector hits the projection screen. By controlling
each light source separately the lighting levels upon the stage
can be controlled to closely match the ievels of light as dic-
tated by the show performance, or the levels of unwanted light
hitting the projection surface of the screen.

The projector may comprise a standard projector, for
example a JVC ML4000, or a Barco G5. Alternatively, the
projector may comprise an LCD, or a television display. The
display may comprise at least one element arranged to be
non-emitting in response to contre] from a processor. The at
least one element may form a mask arranged to produce an
area upon the screen upon which the image is not projected,
The mask may correspond to the shape and location ofa prop
upon stage. The prop may be three dimensional.

According to a second aspect of the present invention there
is provided a method of providing a projection apparatus
comprising the steps of:

(i) resting a frame upon a number of elevation means;

Gi) attaching leg sections to the frame;
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 64 of 87

US 8,328,361 B2

5

(iii) increasing the height of the elevation means:

(iv) adding further leg sections;

(vy) attaching a lower edge of a screen to a lower rear piece
of the frame;

(vi) raising an upper edge of the screen to adjacent an upper
front section of the frame; and

(vii) attaching the upper edge of the screen to the upper
front section of the frame.

The method may comprise providing the elevation means
in the form of a jack.

The method may comprise providing the screen in the form
ofa film. The method may comprise removing a roll of screen
film from a protective cylindrical casing. The method may
comprise laying the screen upon a dust-tree protective sheet.

The method may comprise placing the lower edge of the
screen between jaws of a first retention member and may
further comprise securing the screen in position using a fixing
means passing through the retention member and the screen
and a locking means arranged to lock the fixing means being
arranged to secure the locking means in position. The method
may comprise providing the fixing means in the form ofa bolt
and the locking means in the form of a nut.

The method may comprise attaching tensioning means to
the retention member adjacent at ieast some of the fixing
means.

The method may comprise attaching the tensioning means
to the lower rear piece of the frame. The method may com-
prise attaching a second retention member to an upper edge of
the film screen, typically in the same manner as the first
retention member is attached to the lower edge. The method
may comprise attaching tensioning means to the second
retention member. The method may comprise providing the
tensioning members in the form of ratchet straps.

The method may comprise attaching a rope to the second
retention member and passing the rope over the upper frame
and using the rope in step (vii) to raise the screen.

The method may include tensioning each of the tensioning
means such that the sereen is flat and substantially wrinkle
free,

The method may include depending a projector from the
upper frame.

The method may include placing a pigmented reflective
board between the screen and a front edge of the frame. The
method may comprise reflecting light emitted by the projec-
tor from the board onto the screen.

The method may comprise forming the frame from a truss
work,

According to a third aspect of the present invention there is
provided a projection apparatus constructed according to the
second aspect of the present invention.

BRIEF DESCRIPTION OF THE SEVERAL
VIEWS OF THE DRAWINGS

The invention will now be described, by way of example
only, with reference to the accompanying drawings, in which:

FIG. 1 is a schematic representation of a first embodiment
of a projection apparatus according to at least an aspect of the
present invention;

FIG. 2 is a side view of a the projection apparatus of FIG.
1 showing 4 pigmented reflective member in first and second
positions;

FIG. 2a is a schematic representation of an alternative
projection arrangement, suitable for use with the apparatus of
FIGS. 1 and 2;

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FiG. 3 is a schematic representation of a second embodi-
ment of a projection apparatus according to at least an aspect
of the present invention;

FIG. 4 is a perspective view of a screen clamping arrange-
ment of FIGS. 1, 2 and 3; and

FIG, 5 is a schematic view of a projection apparatus being
constructed according to the second aspect of the present
invention.

DETAILED DESCRIPTION CF THE INVENTION

Referring now to FIGS. 1, 2 and 4, a projection apparatus
100 comprises a box frame 102 formed of trusses 104, a
projector 106, a support frame 108, a screen 110 held within
the support frame 108 and a grey pigmented reflective board
112,

The projector 106 depends from a front upper cross-piece
truss 104@ of the box frame 102. The board 112 lies below the
projector 106 at the base of the box frame 102. The screen
410, is inclined at approximately 45° to the horizontal and the
front edge of the screen 110 is proximate the front upper
crass-piece truss 104a of the box frame 102 and the rear edge
of the screen is proximate a stage 109 that lies to the rear ofthe
box frame 102.

The screen 110 is typically @ polymeric foil, which can
havea partially reflective coating upon a front face of the foil.
The screen 110 is retained within the box frame 102 by means
of tensioning straps 114 attached to the box frame 192, at the
top and bottom edges of the screen 110. Ata free end of each
of the tensioning straps 114 there is pair of clamp jaws 116
which have respective openings 118,120 passing there-
through. The faces of the jaws 116 are optionally coated with
an abrasive 121, such as sandpaper, in order to enhance the
grip of the jaws 116 upon the screen 110.

Edges of the screen 110 are placed between the jaws 116
and a bolt 122 is placed through the openings 118, 120 and
passes through the screen 110, A nut 124 is threaded onto the
bol: 122 and tightened to hold the screen 110 between the
jaws 116. The tensioning straps 114 pass through the trusses
104 and are tightened using a friction locking buckle arrange-
ment 128.

Each of the tensioning straps 114 can be tightened or loos-
ened individually so as to allow an even tensicn to be applied
over the whole surface of the screen 110 thereby reducing,
and ideally eliminating, the formation of wrinkles upon the
screen 110 which reduce the quality of an image projected
upon the screen 110.

The reflective board 112 lies below the projector 106 adja-
cent to a lower front cross-piece truss 104 of the box frame
102. The projector 106 is directed such that light emitted by
the projector 106 strikes the reflective board 112. The board
142 is inclined so that the light emitted by the projector 106 is
reflected upwards from the board 112 onto the screen 110.
The use of a grey, or otherwise coloured board 112 reduces
the milky hue associated with light from the projector where
there is no image to be projected.

A fraction of the projected light striking the screen 110 is
reflected from the front surface of the screen 119 where is can.
be viewed by an audience. A presenter upon the stage 109
behind the screen 110 can also be viewed by the audience but
does not interfere with the viewing of the image by the audi-
ence.

The board 112 is connected to a hinge arrangement 130
along a rear edge thereof. The hinge arrangement 130 allows
the board 112 to be raised and lowered, typically be a hydrau-
lic ramp 132 controlled by a computer 134, in order to com-
pensaite for the ‘keystone’ effect. Alternatively, the board 112
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 65 of 87

US 8,328,361 B2

4

can be raised and lowered by the person pulling upona string,
or an electric motor fo drive the board up and down.

The raising and lowering of the board 112 also allows for
the audience's perception of the positional depth upon the
stage of an element of a projected image to be altered by
varying the height of the element of the image upon the screen
110. It is envisaged that the board 112 may comprise a num-
ber of individual sections each of which may be raised an
lowered individually in order to allow the perceived depth of
an individual element of an image to be varied independently
of other elements of the image.

A non-reflective mask 136 in the shape of a prop 138, in
this example a rock, is placed upon the board 112. The prop
138 is place upon the stage 109, typically behind the screen
110. The mask 136 is placed such that the board 112 is
obscured in a region corresponding to where the prop 138 is
located with respect to the screen 110. This arrangement of
mask 136 and prop 138 results in an image, or part of the
image, projected upon the screen 110 apparently disappear-
ing as the image, or part of the image, passes over prop 138
and reappearing once the image, or part, of the image has
passed over the prop 138 as the mask 136 prevents light being
reflected onto the region of the screen 110 corresponding to
the location of the prop 138, The mask 136 can be variable in
size and shape, for example by means of a sliding panel that
is moved into location and varied in size according to the size
of the prop 138. This also aliows for the depth perception of
props to be varied as their apparent effect upon variable depth
image elements, as discussed hereinbefore, can be varied
appropriately, for example a given size of rock will obscure
proportionately more of a distant image than the same rock
will of a near image.

A light source 140 is mounted upon the box frame 102 and
illuminates the prop 138 in order to reduce the effect of any
residual light reflected from the board 112 onto the prop.

Referring now to FIG. 2a, an alternative projection
arrangement 200, suitable for use with the apparatus of FIGS.
1 and 2 with an additional truss, comprises the projector 106
depending from a truss 202 forward of the screen 116, an
inclined mirror 204 of variable inclination depending from a
second trass 206 forward of projector 110. The projector 106
projects an image on to the mirror 204 such that the image is
projected on to the reflective board 112 and on to the screen
110. The mirror 204 is typically arranged to be perpendicular
to the board 112, and in embodiments where the board 112
has a variable angle of inclination the mirror 204 will usually
be arranged to track, synchronously, with any variation in the
angle of mclination of the board 112,

It will be appreciated that the term mirror is used herein to
describe any reflective surface that reflects substantially all,
typically in excess of 50% preferably in excess of 80%, light
impinging upon it.

Referring now to FIG. 3, a projection apparatus 300 is
substantially similar to that of FIGS. 1 and 2 accordingly
identical parts to those of FIGS. 1 and 2 are accorded similar
reference numerals in the three hundred series.

A projection screen 306 resides in front of the screen 310
adjacent the lower front crass-piece truss 304. The projec-
tion screen 306 is typically a liquid crystal display (LCD)
screen or a television screen. The projection screen 306
projects an image upwards coto the front surface of the sereen
310. The use of a projection screen 306 removes the ‘key-
stone’ effect associated with conventional projectors.

A mask 336 can be formed upon the screen by use of a
computer 340 to contre! the projection screen 306 to black out
the appropriate part of the projection screen 306 electroni-
cally. This removes the need for a physical mask to be pro-

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duced. The computer 340 can be used to switch of areas of the
projection screen 306 which do not contain part of an image
to be projected, this reduces the milky white hue associated
with such areas when using conventional projectors, Also, the
use of a computer 340 to contro! the projection screen 306,
together with image sizing in relation to image movement
allows an image to be readily scaled and positioned upon the
projection screen 306 tc enhance an audience's perception of
depth and movement ofa projected image using known image
processing techniques. Alternatively, the projection screen
306, or sections of the projection screen 306, can be raised
and lowered under the control of the computer 340 in order to
enhance the audience’s perception of depth of the projected
image.

Referring now to FIG. 5, a box truss framework 500 com-
prises a square upper truss work 502 and leg trusses 504, In
constructing the framework 500 the upper truss work 502
rests upon a number of jacks 506. First sections 508 of the leg
trusses 504 that extend at nght angles to the upper truss work
502 are added at the corners of the upper truss work 502. The
height of the jacks 506 is increased to allow additional sec-
lions §10 of the leg trusses 504 to be added until the desired
height of the box truss framework 500 is achieved.

A cross-piece truss 512 is fixed to two of the leg trusses $04
such that it horizontally spans the gap therebetween at a
height close to, and typically slightly below, the level of a
stage floor 514. The leg trusses 504 spanned by the cross-
piece truss 512 constitute the rear legs of the framework 500
and are located adjacent the front of the stage floor 514.

A dust-free protective plastic sheet 515 is laid across the
width of the stage floor 514 in front of the rear legs of the
framework 500. A roll of screen film 518 is removed from a
protective cylindrical casing 520 and is unwound across the
width of the stage floor 514. The film 518 is placed upan the
sheet 515 in order to prevent damage to the surface from dust
particles or other sharp protrusions.

A lower edge 522 of the film 518 is placed between jaws
52da,b of a retention member 526, each jaw 524a,b having
opposed openings therethrough spaced at approximately 0.5
m intervals. Bolts 528 are placed through the openings, and
through the film 518, and secured in position using respective
nuts. Ratchet straps 532 are attached to the retention member
526 adjacent alternate bolts 528, having a spacing of approxi-
mately lm, and are then attached to the cross-piece truss 512.

A second retention member 534 is attached to an upper
edge 536 of the film 518 in a similar manner to how the
retention member 526 is attached to the lower edge $22.
Ratchet strans 538 are attached to the second retention mem-
ber 334,

A rope 540 is tied to the second retention member 534 and
is passed over the upper truss work 502 opposite the cross-
piece truss 512. The film raised into position using the rope
540 and the ratchet straps 538 are attached to the upper truss
work 502. Both sets of ratchet straps 532, 538 are tightened
individually until the screen film is tensioned such that the
film 518 is flat and, ideally, free from wrinkles.

A projector 542 is depended from the upper truss work 502
and a pigmented reflective board 544 is placed between the
screen 518 and the front edge of the box truss framework 500
such that light emitted by the projector 542 is refiected from
the board $44 onto the screen 518. The screen 518 reflects at
least part of the light from a front surface thereof away from
the stage and into an auditorium to be viewed by and audi-
ence.

In order to prevent the audience observing the projection
apparatus both side and front drapes 546 are used to screen the
apparatus from the audience.
Case 2:14-cv-00772-GMN-NJK Document 188

Filed 01/30/15 Page 66 of 87

US 8,328,361 B2

9

The invention claimed is:

1. An image display apparatus, comprising:

an image source, a frame, a light source and an at least

partially transparent screen;

the frame being arranged to retain the screen under ten-
sion, such that the tension of the screen can be inde~
pendently varied at a plurality of positions along at
least one edge of said screen,

the light source arranged to ilJjuminate at least part of the
apparatus;

the screen inclined at an angle with respect to a plane of
emission of light from the image source and the
screen having a front surface arranged such that Hght
emitted from the image source is reflected therefrom;
and

the image source being arranged such that light forming
the image impinges upon the screen such that a virtual
image is created from light reflected from the screen,
the virtual image appearing to be located behind the
screen,

wherein the screen is polymeric foil and the frame com-
prises first and second retention members having
opposing, faces arranged in parallei to sandwich an
edge region of the screen therebetween, and at ieast
one of the faces of the first and second retention mem-
bers comprises an abrasive coating arranged to con-
tact the screen, and

wherein the first and second retention members are con-
nected to one or more flexible tensioning means,
which exiend from the frame, the flexible tensioning
means comprising tensioning straps and correspond-
ing friction locking buckle arrangements for tighten-
ing the tensioning straps;

the foil, flexible tensioning means and the frame lying in
a common inclined plane, with the faces of the first
and second retention members being oriented paralle!
to the common inclined plane and the tension on the
foil being applied in the common inclined plane.

2. The apparatus according to claim 1 wherein the abrasive
coating is sandpaper,

3. The apparatus according to claim 1 wherein the first and
second retention members comprise respective openings
therethrough arranged to collocate with respective openings
in the screen wherein the openings are arranged to receive a
fixing means so as to clamp the screen between the first and
second retention members.

4. The apparatus according to claim 1 wherein the frame is
arranged ta retain the screen under tension such that the
tension of the screen can be varied at a plurality of positions
along at least one edge of the screen such that the sereen is
substantiaily wrinkle free.

5. The apparatus according to claim 1 further comprising a
pigmented reflective member provided in an optical pathway
between the umage source and the screen and being operative
to reflect only light from part of the visible spectrum.

6. The apparatus according to claim 5 wherein the pig-
mented reflective member appears grey to a viewer.

7. The apparatus according to claim 1 further comprising a
second light source arranged to illuminate at least part of a
stage lying behind the screen.

8. The apparatus of claim 1, wherein both of the faces of the
first and second retention members comprise an abrasive
coating.

9. The apparatus according to claim 1 wherein the image
source comprises one of a projector, an LCD, or a television
display.

10. An image display apparatus, comprising:

an image source, a frame, tensioning straps and corre-

sponding friction locking buckle arrangements for tight-

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ening the tensioning straps, a light source and an at least

partially transparent screen;

the frame being arranged to retain the screen under ten-
sion, such that the tension of the screen can be inde-
pendently varied at a plurality of positions along at
least one edge of said screen;

the light source arranged to illuminate at least part of the
apparatus;

the screen inclined at an angle with respect to a plane of
emission of light from the image source and the
screen having a front surface arranged such that light
emitted from the image source is reflected therefrom;
and

the image source being arranged such that light forming
the image impinges upon the sereen such that a virtual
image is created from light reflected from the screen,
the virtual image appearing to be located behind the
screen,

wherein the screen is polymeric foil and the frame com-
prises first and second retention members having
opposing faces arranged in parallel to sandwich an
edge region of the screen therebetween, and at least
one of the faces of the first and second retention mem-
bers comprises an abrasive coating arranged to con-
tact the screen, and

wherein the foil and the frame reside in a common
inclined plane, with the faces of the first and second
retention members being orlented parallel to the com-
mon inclined plane, the retention members being
under tension, with the tension on the retention mem-
bers and the foi! being applied by the tensioning straps
in the common inclined plane.

11. The apparatus of claim 10, wherein the first and second
retention members are connected fo one or more tensioning
means, which extend from the frame.

12. The apparatus of claim 11, wherein the tensioning
means are flexible tensioning means.

13. The apparatus according to claim 10, wherein the abra-
sive coating is sandpaper.

id. The apparatus according to claim 10, wherein the first
and second retention members comprise respective openings
therethrough arranged to collocate with respective openings
in the screen wherein the openings are arranged to receive a
fixing means so as to clamp the screen between the first and
second retention members.

15. The apparatus according to claim 10, wherein the frame
is arranged to retain the screen under tension such that the
tension of the screen can be varied at a plurality of positions
along at Jeast one edge of the screen such that the screen is
substantially wrinkle free.

16. The apparatus according to claim 10, further compris-
ing a pigmented reflective member provided in an optical
pathway between the image source and the screen and being
operative to reflect only light from part of the visible spec-
trum.

17. The apparatus according to claim 16, wherein the pig-
mented reflective member appears grey to a viewer.

18. The apparatus according to claim 16, wherein the
image source comprises one cf a projector, an LCD, or a
television display.

19. The apparatus according to claim 16, further compris-
ing a second light source arranged to illuminate at least part of
a stage lying behind the sereen.

20. The apparatus of claum 10, wherein both of the faces of
the first and second retention members comprise an abrasive
coating.
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 67 of 87

Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 68 of 87

Pulse Entertainment Corporation
The Digtal Celebrity Company.

KEY DATA Introduction > Pulse Entertainment Corporation
ae (“Pulse of the Company”) is a creatively driven, digital
Industry: Entertainment & Media - $479B annually production company, focusing on virtual
Specialization: High-impact applications of computer- performances Pulse Produces specialized, high-
generated digital humans impact applications of computer-generated celebrity

and ‘world figure likenesses in virtual live and
holographic concerts, advertising, branded content,
family-focused animation feature films, live-action
feature films and education. The Company's goal is to
be the world’s leading developer and producer of
Location: West Palm Beach, Florida computer generated human likeness. Today, the

obvious applications of digital humans are in high
($000) Yeard Year? © Near) Yeaca’ demand in the entertainment sector. Tomorrow,
TotalRev $7,916 $31,081 $67,096 $109,670 $161,948 digital humans will drive globally relevant — and far

Customers: General audiences, major & mini studios,
networks, ad agencies, Fortune 500 companies

Funding Plan: $45MM preferred stock equity funding, further
information and terms available to accredited investors

DirectExp $4,517 $15,843 $27,930 $42,081 $58,639 more lucrative - uses In surgical simulation, military
EBITDA $1,587 $12,953 $35,225 $61,985 $94,725 simulation and telecommunications.

The Marketplace - The U.S. entertainment and media
market generated revenues of $479.23 billion in 2012. According to business editor Paul Bond of “The Hoilywood
Reporter,” revenues are expected ta grow to more than $632.09 billion, and $2,152 trillion worldwide, by 2017. Pulse is
set to produce digital media product that wiil penetrate every sector of this industry, and will be consumed by global
audiences on the growing variety of screens and stages available today — from theaters and television, tablets and phones,
to stages and dynamic live performance venues around the world. Pulse intends to further develop a new, globally relevant
virtual performance industry that has recently emerged in part because of. its principals’ leadership in ground-breaking
performances of photo-realistic digital humans in films, such as Tron: legacy and The Curious Case of Benjamin Button,
and in live music concerts, such as the 2012 Coachella Valley Music Festival, which featured the digital resurrection of late
rapper Tupac Shakur as a ‘holographic’ performer. 7

The Business - Pulse is leveraging its expertise, relationships and
market position to develop, produce and. exploit entertainment
media in three distinct and complementary business verticals:
Pulse Productions, The Head Shop, and On-Point. Common to all
three divisions is the Company’s expertise in the development and
production of story-based entertainment. However, each division
focuses on distinct opportunities that represent significant areas of
market growth in the entertainment industry:

* Pulse Productions - /P investments - the investment and
services division that focuses on the production of photo-
realistic, digital likeness performers, representing the world’s top
tier celebrities and late celebrities, for whom there is demand
for live holographic performances in venues around the world.
The resulting IP will be exploited in all media and markets
worldwide. Pulse will derive revenues from two key activities:
1} the production of computer-generated celebrities and 2} the
presentation of virtual celebrities on the variety of screens and
stages available today.
The Head Shop - CC Services — a services-anly division that .
focuses on the production of photo-realistic, digital likeness {+
performers, representing high impact late, celebrities and world
celebrities, whose associated celebrity estates can be enhanced
by digital likeness appearances, but do not have the appropriate
risk-reward balance to justify Pulse investment. In addition to
celebrity performers, this division will also be willing to create
animated human heads, fictional or otherwise, for use in feature
films, commercials and branded entertainment. oa

*

“+ Tupac Shakur - Pulse Chairman served as

‘ “Chairman & CEO of VFX company that produced
this digital resurrection and holograph-like

’ “performance in front of a live audience at the

sie

ye Coachalla. Valley Music Festival in 2072, Seen by
_ ‘ghiore than’ 100 million viewers over YouTube, this
“ media inspired demand trom press worldwide for

; the digital returo of many other late celebrities

Mea ag
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 69 of 87

« On-Point — Branded Entertainment ~ a division that brokers the Company's virtual performance productions and digital

human production capabilities to top corporations and advertising agencies, enabling brands to exploit photo-realistic,
digital likeness celebrities. ,

The Management - Pulse principals: are known leaders in the entertainment
industry, who are well positioned to exploit the demand for live and recorded
branded and original entestainment, They have founded and operated
successful production: and media companies, produced large-scale feature
films, worked with talent to launch lucrative careers, and overseen and
i produced some of the world’s most visually stunning computer generated
| imagery. With collective senior visual effects experience in more than 50
’ major studio feature films, they also have Producer and Executive Producer
experience in the development, finance and. production of major market
feature films, such as the recently released Ender’s Game (directed by Gavin
Hood, starring Harrison Ford), released in November 2013.

i They are also globally recognized for their jeadership of the most
groundbreaking holographic, virtual performance projects known to date,
including the digital resurrection of jate rapper Tupac Shakur as a

A ‘holographic’ performer at the 2012 Coachella Valley Music Festival, and
Ender’s Game (2013), featuring memorable performances of digita! humans in the high profile feature films
Harrison Ford and Asa Butterfield Tron: Legacy and The Curious Case of Benjamin Button.

John Textor, Executive Chairman of the Board - Former ;
Chairman and CEO of Digital Domain, creators of KEYS TO SUCCESS
holographic Tupac and digital characters for Curious

oe I i intend deli h t visuall
Case of Benjamin Button and Tron; Legacy, and Pulse Entertainment intends to deliver the most visually

. ; stunning, globally. recognized human animation and
Producer/Executive Producer of Ender’s Game {released holographic performances in the entertainment industry.

Navember 2013). Pulse is uniquely qualified to succeed in a large, fast-growing
Frank Patterson, Chief Executive Officer - A 25-year | market segment that its principals helped start.

veteran of the entertainment industry who has served as | Notable Company and Market Attributes Include:

a founder, CEO and/or President of several’ successful Lona "tear |
film and commercial production companies including
Envisage Media Group, Inc., The Houston Cinema
Group, Inc., and Red Hills Releasing, LLC, a feature film
marketing and distribution company. Has directed and/or
written seven feature films, shot more than 100.
commercials and a variety of broadcast content. He
serves as Dean of highly regarded Florida State
University College of Motion Picture Arts.

Global Audience for New Form of Entertainment
High Margin Products/Services in High Growth Market
Demand is Farin Excess of Industry Capacity
Globally, Recognized Innqvators Lead Company
Rights Acquisition. Strategy Creates Competitive Barrier
First to Market Leadership Position
_ ‘New Real Estate’ in exploitation of likeness rights
Opportunity for Multiple Streams of Revenue
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Jim Berney, President and Head of Studio - Former Head

of Studio at Digital Domain; Academy Award®-nominated visual effects supervisor at Sony Pictures Imageworks,
responsible for supervision of notable films including Green Lantern, | Am Legend, and The Chronicles of Narnia, for
which he was nominated for an Academy Award for Outstanding Visual Effects, The Matrix Reloaded, The Matrix
Revolutions, The Lord of the Rings: The Two Towers and Harry Potter and the Sorcerer’s Stone, }im also served as CG
supervisor for Hollow Man (2000 Academy Award® nominee, Best Visual Effects).

USE_OF FUNDS

Funding Requirements ~ To successfully execute the
ged v $15MM in capital will be used for:

business plan, Pulse Entertainment is seeking $15 million
in equity funding. During the first 2 years of operation ~ * Startup / Early Stage Capital Expenditures $2,500,000
Pulse projects it will acquire the digital likeness rights for * 1" Celebrity Digital Asset Construction $3,000,000

3 Top Tier Celebrities, execute 2-3 high profile Top Tier ae .

Celebrity entertainment productions, and deliver + 2 Celebrity Digital Asset Construction $3,000,000
numerous other revenue producing projects involving | ° 3" Celebrity Digital Asset Construction $3,000,000
Second Tier Celebrities and Branded Entertainment, * Working Capital & Contingency — $3,500,000

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 70 of 87

Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 71 of 87
Meet the conjurers of Michael Jackson's ghost Page | of 3

Meet the conjurers of Michael Jackson's ghost

Pulse Evolution, the digital firm that orchestrated Michael Jackson's “appearance” at the Billboard Music Awards, exclusively invited USA TODAY to its studios for @ look at how the
ifusion was created. USA TODAY

3 Marco della Cava, USATODAY 12:32 p.m. EDT May 23, 2014

And the team that orchestrated his high-tech resurrection is beaming through their fatigue.

“it scared us to death to create an image that had to fook, feel and function for four minutes like an entertainer

see his ayes and moves and believe it was him."

(Photo: Getty Images for DCP} WATCH: See the performance of ‘Slave to the Rhythm’ (http-//youtu. be/iDRTghGZ7XU)

MORE: Jackson mirage heralds future of posthumous shows (/storv/life/music/201 4/05/22 /rnichael-jackson-
mirage-heraids-future-of-posthumous-snows/9447595/)

After a week of social and online media speculation about how the effect was pulled off, Florida-based Pulse exclusively invited USA TODAY to its Bay

image on glass or plastic at a 45-degree angle, which brings that image into the viewer's field of view.

But the Jackson illusion was infinitely more complex to pull off. "Tupac had no hair, and just stood there, where Michae! had to be all aver the place,”
Patterson says.

http://www.usatoday.convstory/life/musie/2014/05/22/michael-j ackson-billboard-music-awards-illusion/.... 5/29/2014
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 72 of 87

Meet the ers of Michael Jackson's ghost Page 2 of 3

Pulse Executive Chairman John Textor, left, and CEO Frank Patterson discuss the creation of the Michael Jackson itlusion at the Pulse studio in San Rafael, Calif., on May
21, 2014.(Photo: Martin E. Klimek USA TODAY)

Here's how things went down over eight long months of development.
Pulse first recorded Slave's giided backdrop and real dancers in staggering 8K resolution {4K TVs are state of the art), using two $50,000 Red Dragon

cameras, Next, a computer-generated Jackson circa 199% {the period chosen by the Jackson estate) was subjected to an arduous animation process
that was crucial to its success.

"You have to get across what's called the ‘uncanny valley,’ which says the closer you get to making a digitai human real, the creepier it gets," says
Patterson, adding that the illusion stili lacked beiievability two weeks before the awards. "In the end, with all the intricate details in Michael's face and

gestures, we feel we got across.”

Come showtime, Pulse hung six high-powered projectors overhead and aimed the high-resolution footage of Jackson dancing and singing down ala
plece of Mylar.

To the audience assembled at Las Vegas’ MGM Grand, it looked as ifa life-size Jackson was in front of them. The illusion was cemented by the
presence of live dancers (foreground) and band (background).

"hen the people who knew Michael best started crying at the show, we knew we'd done something," Textor says. “Then we started crying.”

Read or Share this story: http-//usat ly/inwOG8G

USANOW

http://www usatoday.com/story/life/music/20 14/05/22/michael-jackson-billboard-music-awards-illusion/... 5/29/2014
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Meet the conjurers of Michael Jackson's ghost

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see Sa ee foe

THE GRAND ILLUSION

Audiences at Sunday's Billboard Music Awards ceremony were treated to a performance of Slave to the Rhythm by none other than the
late Michael Jackson himself. Though widely mistaken as a hologram, the performance by Michael Jackson was the resuil of computer~
generated images, live performers and a touch of illusion known as Pepper's ghost. Here's how praducers mixed fantasy with reality:

R. Carey and Kar Getien USA TODAY

http://www. usatoday.com/story/life/music/201 4/05/22/michael-jackson-billboard-music-awards-illusion/... 5/29/2014
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 74 of 87

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 75 of 87

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 76 of 87

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Page 77 of 87

Filed 01/30/15

Case 2:14-cv-00772-GMN-NJK Document 188

THE GRAND ILLUSION

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Page 78 of 87

Filed 01/30/15

Case 2:14-cv-00772-GMN-NJK Document 188

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 79 of 87

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 80 of 87

Page 81 of 87

Filed 01/30/15

Case 2:14-cv-00772-GMN-NJK Document 188

The Magic of Musion 3D:

So now we can say it {hai Musion 3D

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production has been in rehearsais for many

Life-Size Interactive 3D Holographic Projection.

sing a proprietary 8K video production. The Fol
weeks. Musion 3D is not in any way connected

THE EXPERIENCE PRODUCTS SERVICES ABOUT PORTFOLIO CONTACT Q

was proud to have parinered in the production process with Pulse Enterlainment since January 2074. The filming and dance sequences

used Musion proprietary freprocf foil and was rigged by Musion 3D. The
with the company Musion Das Hologram

Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 82 of 87

Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 83 of 87
. USPTO Assignments on the. Web

2712014

Assignments on the Web > Patent Query

Patent Assignment Abstract of Title
NOTE:Results display only for issued patents and published applications. For
pending or abandoned applications please consult USPTO staff,

Total Assignments: 2

Patent #: 7883212 Issue Dt: 02/08/2011 Application #: 10599553 Filing Dt: 69/36/2006
Publication #: 20070201004 Pub Ot: 08/30/2007

Inventers: Ian O'Connell, James Rock
Title: PROJECTION APPARATUS AND METHOD FOR PEPPER'S GHOST ILLUSION
Assignment: 1 SO .
Reel/Frame: 018419/0258 Recorded: 10/21/2006 - Pages: 5
Conveyance: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT; FOR DETAILS).
_ Assignors: O'CONNELL, LAN . a ve - ! Exec Dt: 09/08/2006
ROCK, JAMES . / 4. Bxee Bt: 09/21/2006
Assignee: MUSION SYSTEMS LIMITED Cee
7A LANGLEY STREET re
COVDEN HOUSE oe
LONDON, UNITED KINGDOM WC2H 9JA
Correspondent: DR. MATTHIAS SCHOLL, ESQ... eR, . ,
14781 MEMORIAL ORIVE =! tl
SUITE 1319
HOUSTON, TX 77079
Assignment: 2

Reel/Frame: 031615/0800 Recorded: 11/11/2013 Pages: 12
Conveyance: ASSIGNMENT OF ASSIGNORS INTEREST (SEE DOCUMENT FOR DETAILS),
Assignor: MUSION SYSTEMS LIMITED Exec Dt: 09/26/2013

Assiqnee: MUSION DAS HOLOGRAM LIMITED
90 HIGH HOLBORN
LONDON, UNITED KINGDOM WCLV 6XX
Correspondent: MICHAEL S. TUSCAN
1299 PENNSYLVANIA AVE., NW :
SUITE 700 Cte
WASHINGTON, DC 20004-2400 a ban

/ Search Resulis as of: 06/27/2014 01:06 PM
If you have any cemments of questions concerning tha data display ad, contact. PRD / Assignments at 571-272-3350, v.2.4
Web interface last modified: Mar 15, 2014 v.2.4 |

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Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 84 of 87

EXHIBIT H
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 85 of 87

Scott Malzahn

From: Janice Lee
Sent: Thursday, May 15, 2014 6:21 PM
To: John.textor@pulse.co; johnb@ziffrenlaw.com; jmcclain2004 @aol.com;

hweiltzman@kwikalaw.com; Jessica.Letkemann@billboard.com;
Andrew.min@billboard.com; jjames@dickclark.com

Ce: Ryan Baker; Scott Malzahn

Subject: Notice of Intention to Seek Temporary Restraining Order/Request for Stipulation
(Federal Rule of Civil Procedure 65 and Nevada Local Rule 7-5)

Attachments: 5-15-14 Cease and Desist Letter re Billboard Awards (00070552).PDF

Dear Mssrs. Textor, Branca, McClain, Hweitzman, Min, James, and Ms. Letkemann:

Please see the attached correspondence, sent on behaif of Mr. Ryan G, Baker.

Regards,
Janice Lee

Janice Lee

Legal Assistant

BAKER MARQUART LLP

10990 Wilshire Blvd., Suite 400
Los Angeles, CA 90024

Phone: (424) 652-7800
Fax: (424) 652-7850
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 86 of 87

BAKER MARQUART Lup

ATTORNEYS

WRITER’S DIRECT DIAL No.
(424) 652-7801

WRITER’S E-MAIL ADDRESS
rbaker@bakermarquart.com

May 15, 2014

Via Electronic Mail

John.textor@pulse.co; johnb@ziffrenlaw.com; jmeclain2004@aol.com;
hweitzman@kwikalaw.com; Jessica. Letkemann@billboard.com, Andrew.min@billboard.com;
jjames@dickclark.com

Re: Notice of Intention to Seek Temporary Restraining Order/Request for Stipulation
(Federal Rule of Civil Procedure 65 and Nevada Local Rule 7-5)

Gentlemen:

l represent Hologram USA, Inc. (“Hologram USA”), which has licensed the exclusive right to
exploit the Musion Eyeliner technology (“Eyeliner”) throughout the United States and Canada.

As you undoubtedly know, Eyeliner is protected by United States Patent Nos. 5,865,519 (the “
‘519 patent”) and 7,883,212 (the “ ‘212 patent”) (collectively, the “Patents”). Mr. Uwe Maass
and Musion Das Hologram Limited (“MDH”) hold these Patents, which Hologram USA has
exclusively licensed in the United States and Canada. | also represent Mr. Maass and MDH.

| have recently learned that you have planned to display a holographic image of Michael Jackson
at the May 18, 2014 Billboard Music Awards. Billboard.com advertises the Michael Jackson
performance as a “World Premiere Experience” and states that “[t}he Estate of Michael Jackson
created the spot, which will present the superstar ‘like you've never seen him before.’” Based on
prior communication between.John Textor and my clients, it is apparent that you intend to utilize
Eyeliner technology for this “world premiere event.”

You have absolutely no right to utilize Eyeliner technology at the Billboard Music Awards or
anywhere else. Because you have already publicized your planned infringement, you have
already irreparably harmed Hologram USA, Mr. Maass and MDH. If you persist in your plans to
infringe the Patents by displaying the hologram during the May 18 Billboard Music Awards, the
irreparable harm to my clients will be significantly greater. Accordingly, ] demand you agree to
refrain from displaying any Michael Jackson hologram during the May 18 award show. If you
will not enter into such an agreement, my clients will be forced to seek court intervention.

10990 Wilshire Boulevard, Fourth Eloar + Las Angeles, California 90024 « ret 424 652 7800 « BAX 424 652 7850
www bakermarqaart.com
Case 2:14-cv-00772-GMN-NJK Document 188 Filed 01/30/15 Page 87 of 87

Specifically, unless | hear, by 8 p.m, Pacific, on May 15, 2014, that you agree not to display any
Michae! Jackson hologram during the May 18, 2014 Billboard Music Awards, my clients will
file an action in Nevada District Court seeking damages for patent infringement; my clients will
also seek a temporary restraining order and other appropriate relief. As you undoubtedly know,
in addition to awarding attorneys’ fees, a court may triple the amount of damages in the case of
willful infringement. In this case, there will be no doubt that your infringement is willful.

This letter is not intended to waive any of my clients’ rights. Further, this letter does not purport
to be a full or complete statement of the facts or the law and is without prejudice to any rights,
claims, and remedies available to Hologram USA, Mr. Maass or MDH, whether legal or
equitable in nature, all of which are expressly reserved.

| look forward to hearing from you promptly.

Please free to contact me if you have any questions or concerns,

Ryan G. Baker
